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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  Elnora Carthan; Rhonda Kelso,
  individually and as next of friend of
  K.E.K, a minor child; Darrell and
  Barbara Davis; Michael Snyder, as
  personal representative of the Estate of
  John Snyder, deceased; Marilyn Bryson; Case No.: 5:16-cv-10444-JEL-MKM
  David Munoz; Tiantha Williams,
  individually and as next of friend of    Hon. Judith E. Levy
  T.W., a minor child; Amber Brown, as Magistrate Judge Mona K. Majzoub
  next of friend of K.L.D, a minor child;
  Frances Gilcreast; EPCO Sales, LLC;
  Angelo’s Coney Island Palace, Inc., on
  behalf of themselves and all others
  similarly situated,

                                  Plaintiffs,

                      -v-



  Governor Rick Snyder, in his individual
  and official capacities; the State of
  Michigan; the City of Flint; Daniel
  Wyant, in his individual capacity; Andy
  Dillon, in his individual capacity; Nick
  Lyon, in his individual capacity; Nancy
  Peeler, in her individual capacity; Liane
  Shekter-Smith, in her individual capacity;
  Adam Rosenthal, in his individual
  capacity; Stephen Busch, in his
  individual capacity; Patrick Cook, in his
  individual capacity; Michael Prysby, in
  his individual capacity; Bradley Wurfel,
  in his individual capacity; Jeff Wright, in
  his individual capacity; Edward Kurtz, in
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  his individual capacity; Darnell Earley, in
  his individual capacity; Gerald Ambrose,
  in his individual capacity; Dayne
  Walling, in his individual and official
  capacities; Howard Croft, in his
  individual capacity; Michael Glasgow, in
  his individual capacity; Daugherty
  Johnson, in his individual capacity;
  Lockwood, Andrews & Newnam, P.C.;
  Lockwood, Andrews & Newnam, Inc.;
  Leo A. Daly Company; Veolia North
  America, LLC; Veolia North America,
  Inc.; Veolia Water North America
  Operating Services, LLC,
                                Defendants.




   CONSOLIDATED AMENDED CLASS COMPLAINT FOR INJUNCTIVE
  AND DECLARATORY RELIEF, MONEY DAMAGES, AND JURY DEMAND
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                         INTRODUCTORY STATEMENT
        1.      This class action is pursued on behalf of about 100,000 residents and

  other Flint water users—adults, children, workers, students, business owners,

  homeowners, multi-unit property owners, and all other victims of Defendants’

  unconstitutional and unlawful conduct—who from April 25, 2014 to the present

  (the “Class Period”), have experienced and will continue to experience serious

  personal injury and property damage caused by Defendants’ deliberate, reckless,

  and negligent misconduct. Defendants caused a public health crisis by exposing

  Plaintiffs to contaminated water.     Defendants also exacerbated the crisis by

  concealing and misrepresenting its scope, failing to take effective remedial

  action to eliminate it, and then lying about it to cover up their misconduct.

        2.      Two groups of Defendants are responsible for the severe harm

  suffered by the Plaintiffs.     A group of engineering companies, including

  Lockwood, Andrews & Newnam, P.C. (“LAN PC”), Lockwood, Andrews &

  Newnam, Inc. (“LAN Inc.”), Leo A. Daly Company (“LAD”), Veolia North

  America, LLC (“Veolia LLC”), Veolia North America, Inc. (“Veolia Inc.”), and

  Veolia Water North America Operating Services, LLC (“Veolia Water”) are

  referred to collectively herein as the “Engineering Defendants.”       A group of

  government officials and bodies, including Governor Rick Snyder, the State of

  Michigan, Daniel Wyant, Nick Lyon, Nancy Peeler, Andy Dillon, Liane Shekter-


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  Smith, Adam Rosenthal, Stephen Busch, Patrick Cook, Michael Prysby, Bradley

  Wurfel, Jeff Wright, Edward Kurtz, Darnell Earley, Gerald Ambrose, Dayne

  Walling, Howard Croft, Michael Glasgow, Daugherty Johnson, and the City of

  Flint are collectively herein referred to as the “Government Defendants.”

    SUMMARY OF THE ENGINEERING DEFENDANTS’ MISCONDUCT
              i.     Professional and Common Law Negligence in Engineering

  Services Related to Distribution of Water From Flint River: Plaintiffs have

  sustained serious injuries as a result of the Engineering Defendants’ professional

  negligence in their duties relating to the distribution of water from the Flint River

  using the Flint Water Treatment Plant (“FWTP”), and in failing to report the

  dangers associated with not installing proper anti-corrosive treatment when using

  the Flint River as a primary source of water.

             ii.     Professional and Common Law Negligence and Fraud in

  Declaring Flint Water Safe and Potable: Plaintiffs have sustained serious injuries

  as a result of the Engineering Defendants’ professional negligence in failing to

  properly evaluate Flint’s water system and in publicly declaring its water safe and

  potable. The Engineering Defendants failed to conduct a root cause analysis,

  which would have revealed that the pipes were corroding and causing lead,

  legionella, and other contaminates to enter residents’ homes. The Engineering

  Defendants also failed to mention that the addition of a corrosion inhibitor was


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  necessary to prevent these serious and well-known health issues, and mandated the

  usage of highly acidic ferric chloride, rather than advising that the pH of the water

  should be increased.        The Engineering Defendants also were professionally

  negligent and committed fraud in their effort to cover up their mistakes by

  knowingly or recklessly misinforming the public about the existence and extent of

  the public health crisis.

       SUMMARY OF THE CONSTITUTIONAL AND CIVIL RIGHTS
     VIOLATIONS AND INJURIES CAUSED BY THE GOVERNMENTAL
                         DEFENDANTS
            iii.      Due process based on state created danger doctrine: Plaintiffs

  have sustained violations of their substantive due process rights, including their

  fundamental right to not have the state create, inflict and/or exacerbate dangers

  through the culpable actions of public officials;

             iv.       Due process based on bodily integrity doctrine: Plaintiffs have

  sustained violations of their substantive due process rights, including their

  fundamental right to not have their bodily integrity violated;

             v.       Equal protection, race:         Plaintiffs have sustained serious

  injuries as a result of some of the Government Defendants’ decision to deliver a

  superior water product to the water users in the remainder of Genesee County

  because that community was predominately white, while at the same time




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  delivering a grossly inferior water product to water users in Flint because that

  community was predominately African American;

            vi.      Equal protection, wealth:      Plaintiffs have sustained serious

  injuries as a result of some of the Government Defendants’ decision to protect the

  health of the water users in the remainder of Genesee County because that

  community was predominately more affluent and at the same time disregard the

  health of water users in Flint because that community was predominately poor.

           vii.      Monell Claim: Plaintiffs have sustained violations of their

  fundamental substantive due process rights, including their right to bodily

  integrity, their right to be protected from state created danger, and their right to

  equal protection of the laws, all pursuant to the customs, policies, and/or practices

  of Defendant City of Flint;

           viii.     Violation of 42 U.S.C. § 1985(3): Plaintiffs have sustained

  serious injuries as a result of the conspiracy of two or more of the Government

  Defendants to directly or indirectly conspire to violate Plaintiffs’ constitutional

  rights, said conspiracy being based on invidious racial animus; and

            ix.      Violation of Elliot Larsen Civil Rights Act (“ELCRA”):

  Plaintiffs have sustained serious injuries as a result of their denial of the full and

  equal enjoyment of services provided by some of the Defendants because they

  were residents of a predominately African American community;


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        3.       Plaintiffs sustained personal injury, property damage, economic

  damage, and emotional injury as a result of Defendants’ conduct, as described

  herein, and set forth in more detail below.

                            JURISDICTION AND VENUE
        4.       This is a civil action brought pursuant to 42 U.S.C. § 1983 seeking

  injunctive and declaratory relief together with monetary damages against the

  Government Defendants for violations of the Thirteenth and Fourteenth

  Amendments of the United States Constitution, and Title VI of the Civil Rights

  Act of 1964, 42 U.S.C. 2000d, et seq.

        5.       The Court has jurisdiction pursuant to 28 U.S.C. § 1331, which

  authorizes federal courts to decide cases concerning federal questions; 28 U.S.C.

  § 1343(a)(3) and (4), which authorizes federal courts to hear civil rights cases; and

  28 U.S.C. § 2201, the Declaratory Judgment Act and supplemental jurisdiction

  pursuant to 28 U.S.C. § 1367.

        6.       The Court also has diversity jurisdiction under 28 U.S.C. § 1332(d).

  The matter in controversy in this suit exceeds $5,000,000, exclusive of interest and

  costs. This is a class action in which at least one plaintiff is a citizen of the State of

  Michigan, and at least one defendant is a citizen of a different state—in particular,

  Defendant LAN, Inc. is a citizen of the State of Texas and Defendant Veolia is a

  citizen of the States of Delaware and Illinois.


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        7.       The Court has personal jurisdiction over the Engineering Defendants

  because each of them have personally availed themselves of the benefits and

  protections of the State of Michigan. Each of the Engineering Defendants

  conducted business and committed torts in Michigan, by themselves and their

  agents and/or alter egos, which caused Plaintiffs to suffer severe personal and

  property injuries in Michigan. As such, the Court has personal jurisdiction over

  the Engineering Defendants pursuant to MCL 600.705 and MCL 600.715.

        8.       The Court has personal jurisdiction over the Government

  Defendants named herein as public officials of the State of Michigan, including the

  Emergency Managers, sued in their individual capacities; and public officials and

  employees of the City of Flint, sued in their official and individual capacities; the

  Genesee County Drain Commissioner, sued in his official and individual capacity;

  and the City of Flint for its customs, policies, or practices which affirmatively

  caused and/or contributed to the violations of Plaintiffs’ Constitutional rights.

        9.       Similarly, this Court has personal jurisdiction over the Governor of

  the State of Michigan, in his individual and official capacity, and the State of

  Michigan for prospective relief.

        10.      Venue is proper in this Court because the original injury and damage

  occurred in the Eastern District of Michigan, Defendants reside or conduct

  business in the Eastern District of Michigan, Plaintiffs reside in the Eastern District


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  of Michigan and/or own property located in the Eastern District of Michigan that

  was damaged, and many of the occurrences described herein occurred in the

  Eastern District of Michigan.

                                      PARTIES
        A.    Plaintiffs
        11.     Plaintiff Elnora Carthan is a 72 year old widow who lives alone at

  a home she owns in Flint, Michigan where she has lived since 1976. Throughout

  the Class Period, Ms. Carthan received water serviced from the City of Flint at her

  home. In April 2014, Ms. Carthan began to boil her water but also continued to

  cook with it and to wash and bathe with it. In August 2015, Virginia Polytechnic

  Institute and State University (“Virginia Tech”) tested her water for lead and other

  metals; that test revealed that the lead levels in her water vastly exceeded the

  maximum levels allowed under standards set forth by the federal Environmental

  Protection Agency (“EPA”), and were, in fact, extremely dangerous.

        12.     As a direct and proximate result of Defendants’ conduct, as set forth

  herein, Ms. Carthan has suffered property damage as well as a diminution in the

  value of her property.      Additionally, as a direct and proximate cause of

  Defendants’ conduct, she experienced and continues to experience serious physical

  and emotional injury due to her exposure to toxic water, including but not limited

  to: skin lesions and dermatologic pathology; neurological disorders, including but



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  not limited to constant exhaustion and memory loss; chronic and acute respiratory

  disorders including, but not limited to, chronic rhinitis; other significant medical

  injuries; and psychological disorders such as depression, chronic anxiety,

  posttraumatic stress disorder, and an inability to cope with normal stress. Finally,

  as a direct and proximate result of Defendants’ actions, as set forth herein, Ms.

  Cathan has further experienced property damages, as well as a diminution in the

  value of her property.

        13.     Plaintiff Rhonda Kelso, individually and on behalf of her minor

  child, “K.E.K,” suffered the following injuries. Ms. Kelso is a 54 year old woman

  who suffers from several disabilities including the results of a stroke, spastic

  paraparesis, and bi-polar disorder. She owns her home located in Flint, Michigan.

  She and her family have lived in that home since 1993. As a result direct and

  proximate result of Defendants’ conduct, Ms. Keslo has suffered property damages

  including damages to her water pipes and a diminution in the value of her property.

  Ms. Keslo has also suffered extreme disruption, inconvenience, discomfort, and

  emotional distress. Ms. Kelso lives at the aforementioned home with her minor

  daughter K.E.K. who is 14 years old. K.E.K. is a special needs student in school

  and suffers from a number of disabilities including, but not limited to hearing

  impairment, cardiac problems, and developmental delays involving speech and

  language. Both Rhonda Kelso and K.E.K. drank the toxic water from April 2014


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  until the autumn of 2014. They bathed, washed, and cooked with the water until at

  least January 2015.

        14.     Plaintiffs Darrell and Barbara Davis live in and own a home in

  Flint, Michigan. Plaintiffs Barbara and Darryl Davis have suffered from skin

  problems including rashes and other medical issues, as a direct and proximate

  cause of Defendants’ conduct as alleged herein. From 2014 through the present,

  Plaintiff Barbara Davis has been employed by Flint Community Schools, a school

  district headquartered in Flint, Michigan, and has worked in schools with high lead

  levels. As a direct and proximate result of Defendants’ conduct, while working at

  Holmes STEM Academy, located at 6602 Oxley Drive, Flint, Michigan and

  Eisenhower Elementary School, 1235 Pershing Street Flint, Michigan, two Flint

  Community Schools, Plaintiff Barbara Davis developed skin rashes from contact

  with contaminated water.

        15.     As a direct and proximate result of Defendants’ conduct, Plaintiff

  Barbara Davis has been forced to move out of her home in Flint on several

  occasions beginning in approximately August 2015 and ending in approximately

  April 2016. Thus, the family was separated with Plaintiff Darryl Davis remaining

  in Flint and his wife living in either Nevada or Louisiana. After having abated

  while away from her home, each time she returned to Flint, Ms. Davis’s skin




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  rashes recurred. Plaintiffs Barbara and Darrell Davis also endured pain, suffering,

  and profound emotional distress as a result of the water contamination.

        16.      Finally, as a direct and proximate result of Defendants’ conduct, the

  Davises have sustained damage to their property, including, but not limited to,

  costs associated with remediating the water service lines and plumbing as well as

  in the diminution of the value of the property. The contamination of their water

  supply has unreasonably interfered with all aspects of daily living, quality of life,

  and the use and enjoyment of the property; as a result, Mr. and Mrs. Davis have

  incurred substantial expense in coping with the inconvenience and disruption to

  their lives, including, but not limited to, the cost of bottled water, transportation,

  and medical care.

        17.      Plaintiff Michael Snyder, son of John Snyder, was appointed

  Personal Representative of the Estate of John Snyder by a Genesee County

  Probate Court Judge on August 15, 2015. John Snyder died at the age of 83 on

  June 30, 2015 while at McLaren Hospital in Flint. Mr. Snyder was admitted to

  McLaren Hospital because of right shoulder swelling on June 16, 2015. He was

  discharged on June 25, 2015 to the home of his daughter Mary-Anne Tribble. Ms.

  Tribble’s home is located on Secluded Lane, Flint. Two days later, Mr. Snyder

  was transported by ambulance from his daughter’s home to the Linden, Michigan

  Caretel Inns for assisted living care.


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        18.     Mr. Snyder went to Caretel because his health was deteriorating. At

  approximately 3:45AM on June 30, 2015, Mr. Snyder was taken by ambulance

  from Caretel to the emergency room at McLaren in Flint because of acute

  respiratory failure   “most   likely secondary due to healthcare-associated

  pneumonia.” He passed away soon thereafter. McLaren Hospital records establish

  that Mr. Snyder had the legionella antigen in his urine. Mr. Snyder died because

  of pneumonia caused by exposure to legionella bacteria which he acquired through

  exposure to contaminated Flint River water flowing through Flint’s water supply.

        19.     Mr. Snyder is survived by daughter Mary-Anne Tribble (DOB: July

  1951), son Michael Snyder (DOB: May 1950), son John Snyder (DOB: August

  1952), and six grandchildren.     Defendants’ deliberately indifferent wrongful

  conduct as alleged in this Complaint caused the death of Mr. Snyder. The Estate of

  John Snyder and his survivors seek compensation for lost earnings and other

  economic losses such as funeral expenses and uninsured medical expenses; pain

  and suffering of the decent prior to his death, mortification, loss of society and

  companionship, and other damages flowing from Mr. Snyder’s wrongful death.

        20.     Plaintiff Marilyn Bryson is a 58 year old woman who has lived at

  the same home in Flint, Michigan for 40 years. Mrs. Bryson’s home has lead

  plumbing. During the relevant time period, Mrs. Bryson used the toxic water in

  her home for purposes that included, but were not limited to, cooking and bathing.


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  Mrs. Bryson took frequent baths during the relevant time period due to symptoms

  from menopause, and noticed a strong odor in her water that would change from

  time to time. At first, her water smelled like rotten eggs and then the smell

  changed to a strong bleach-like odor. Mrs. Bryson was admitted to the emergency

  room in July 2015 with vomiting and diarrhea that had lasted for several weeks.

  During this time, Mrs. Bryson lost more than 20 pounds. She was subsequently

  diagnosed with a urinary tract infection and testing revealed E. coli.

        21.     As a direct and proximate result of Defendants’ actions, as set forth

  herein, Mrs. Bryson has experienced serious physical and emotional injury due to

  her exposure to the toxic water, including but not limited to E. coli and urinary

  tract infections. Also as a direct and proximate result of Defendants’ actions, as set

  forth herein, Mrs. Bryson has suffered property damage, as well as a diminution in

  the value of her property.

        22.     Plaintiff David Munoz has lived in Flint, Michigan his entire life

  and has owned a home there for over 20 years. As a direct and proximate result of

  Defendants’ conduct, Mr. Munoz suffered personal and property damages as well

  as a diminution in the value of his property.

        23.     Plaintiff Tiantha Williams, individually and on behalf of her minor

  child, “T.W.,” suffered the following injuries.      Ms. Williams, age 40, is the

  daughter of VanNessa Taylor, age 62 and the mother T.W., age 22 months. The


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  Williams/Taylor family at all relevant times lived in a single-family home on West

  Genesee in Flint. Since April 25, 2014, the Williams/Taylor family continues to be

  exposed to highly dangerous conditions created by Defendants’ use of the Flint

  River as a water source, and Defendants’ continued failure to remediate these

  harmful and toxic conditions. From April 25, 2014 until approximately December

  2015, members of the Williams/Taylor family, unaware of the toxic nature of the

  tap water supplied by Flint, regularly used the water for drinking, cooking,

  bathing/showering, and clothes washing. The Williams/Taylor family continued to

  consume, wash, bathe, and wash dishes and clothing in the water until December

  2015, when the family became aware of the highly toxic and harmful nature of the

  supplied water. Prior to that time, the family trusted previous reports that the

  condition of the water was not an immediate health emergency. They also relied

  on statements about the safety of the water that were made in public forums.

        24.     It was not until December 2015, when the city of Flint declared a

  State of Emergency, that the Williams/Taylor family stopped drinking the water;

  however, Tiantha Williams and VanNessa Taylor have consistently bathed and

  showered in the water. T.W. was born on December 15, 2015, preterm, during the

  28th week of gestation. Upon birth, he stopped breathing 3 times and was revived.

  Following his birth, T.W. remained in the hospital for 1 month and 2 weeks in the

  Hurley Medical Center Neonatal Intensive Care Unite (NICU), being sustained by


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  a heart monitor and oxygen therapy. After giving birth to T.W. on December 15,

  2015, Tiantha Williams was diagnosed with listeria-infected amniotic fluid.

        25.     As a direct and proximate result of Defendants’ actions, as set forth

  herein, Tiantha Williams has experienced serious physical and emotional injury

  due to her exposure to the toxic water, including but not limited to listeria-infected

  amniotic fluid; hair loss, skin rashes and other skin problems; sleeping disorders;

  and psychological disorders such as depression, chronic anxiety, post-traumatic

  stress disorder, and a difficulty coping with normal stress.

        26.     As a direct and proximate result of Defendants’ actions, as set forth

  herein, T.W. has experienced serious physical and emotional injury due to his

  exposure to the toxic water, including but not limited to premature birth at 28

  weeks gestation; excessive crying and irritability; sleeping disorders; delayed

  physical development; and expressive language delay.

        27.     Plaintiff Amber Brown, on behalf of her minor child, “K.L.D.,”

  suffered the following injuries. Ms. Brown is a 33 year old woman residing in

  Flint, Michigan. Ms. Brown’s minor daughter, K.L.D., was born on November 28,

  2014. During her pregnancy, Ms. Brown resided in Flint, Michigan, and used the

  tap water for drinking, cooking, and washing. As a direct and proximate result of

  Defendants’ conduct, K.L.D. has experienced serious physical injury due to her




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  exposure to the toxic water, including, but not limited to, heightened levels of lead

  in her blood.

        28.       Plaintiffs Elnora Carthan, Rhonda Kelso, individually and on behalf

  of her minor child, K.E.K., Darrell and Barbara Davis, Michael Snyder, Marilyn

  Bryson, David Munoz, Tiantha Williams, individually and on behalf of her minor

  child, T.W., and Amber Brown, on behalf of her minor child, K.L.D., are referred

  to collectively herein as, “Individual Plaintiffs.”

        29.       Plaintiff Frances Gilcreast resides in Mt. Morris, Michigan.

  FG&S Investments, located at 4322 E. Mt. Morris Road, Mt. Morris, Michigan

  48458, is a partnership owned and operated by Ms. Gilcreast and her husband,

  Aonie Gilcreast.     Ms. Gilcreast, through FG&S Investments, owns multiple

  properties in Flint, Michigan that are serviced by water provided by the City of

  Flint. As a direct and proximate result of Defendants’ conduct described herein,

  Ms. Gilcreast has suffered property damage, lost rental and business income, and

  diminution in the value of her properties.

        30.       Plaintiff EPCO Sales, LLC (“EPCO”) is a domestic limited

  liability company located at 601 Kelso Street, Flint, Michigan 48506. EPCO is a

  family owned and operated company that engineers and makes architectural and

  functional hardware products for commercial and residential buildings, and has

  resided at its current location in Flint since 1965. EPCO provides services to the


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  residents of Flint at all times relevant to this Complaint. Plaintiff EPCO received

  its water from the City of Flint and paid its water bill to the City in accordance

  with its contract. In exchange, EPCO received toxic and contaminated water not

  fit for human use and consumption.              As a direct and proximate result of

  Defendants’ conduct described herein, EPCO has suffered property damage as well

  as a diminution in the value of its property.

        31.      Plaintiff Angelo’s Coney Island Palace Inc., (“Angelo’s Coney

  Island”) is a Michigan Corporation located at 1807 N. Franklin Avenue, Flint,

  Michigan 48506. Angelo’s Coney Island is a restaurant chain doing business in

  Flint, Michigan since 1949. Angelo’s Coney Island has been significantly injured

  in its business and property as a direct and proximate result of Defendants’

  conduct, as set forth herein.      Customer traffic at Angelo’s Coney Island and

  similarly situated restaurants dropped considerably once the issues with Flint’s

  water became known, leading to a substantial drop in revenue and profits thereby

  also impairing the value of the business. Additionally, Angelo’s Coney Island has

  suffered property damages.

        32.      Plaintiffs Frances Gilcreast, EPCO, and Angelo’s Coney Island are

  referred to collectively herein as, “Business Plaintiffs.” The Business Plaintiffs

  and Individual Plaintiffs are referred to collectively as, “Plaintiffs.”




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        33.      Plaintiff representatives have at all times relevant been residents of

  Flint, Michigan and citizens of the State of Michigan who have suffered personal

  injuries as a result of exposure to the City of Flint’s drinking water, and/or property

  owners who have had property located in Flint damaged from exposure to the City

  of Flint’s drinking water, and/or have suffered or continue to suffer economic harm

  caused by the City of Flint’s drinking water.

        34.      Plaintiff representatives bring this action on behalf of themselves

  and a Class of individuals and entities who were injured in their persons or their

  property after April 25, 2014.

        35.      Unless otherwise noted, the term “Plaintiffs,” as used in this

  Consolidated Amended Complaint, shall mean Plaintiffs and all members of the

  Class they purport to represent.

        B.     Engineering Defendants
        36.      Defendant LAN PC is a Michigan professional corporation with its

  principal place of business located at 1311 S. Linden Road, Suite B, Flint, Genesee

  County, Michigan 48532. In 2008, LAN PC was incorporated by LAN Inc., after

  it was retained to conduct studies and reports of a new water supply that was being

  developed for Flint, Genesee County. At this Flint location, LAN PC held itself

  out to the world as a LAD company. Upon information and belief, substantial




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  amount of work and services provided by LAN PC were conducted at LAN Inc.’s

  Chicago, Illinois location.

        37.      Defendant LAN Inc. is a Texas corporation with its principal place

  of business in Houston, Texas. At all relevant times, LAN Inc. conducted business

  in Genesee County, Michigan through LAN PC. Per its website, LAN Inc.’s

  Michigan office is located at 1311 S. Linden Road, Suite B, Flint, Michigan 48532.

  LAN Inc. holds itself out as a full-service consulting firm offering planning,

  engineering, and program management services, including civil infrastructure

  engineering and municipal water treatment and design. At all relevant times, LAN

  Inc. held itself out to be a LAD company.

        38.      Defendant LAD is a Nebraska corporation with its principal place of

  business in Omaha, Nebraska. Per its website, LAD’s “[s]ervices are extended

  through [LAN Inc.].” LAD’s website advertises that it has “experience, creativity

  and technical experience . . . in every service we offer[,]” which includes

  “[p]lanning, architecture, engineering and interior design, and program

  management [] delivered by multidisciplinary teams hand-picked to provide the

  precise combination of expertise required for project success.”       Additionally,

  LAD’s website indicates: “[a]s a multi-disciplinary firm, engineering is an integral

  part of our process from the beginning of each project. Our engineers work closely

  with planners, architects and interior designers . . . . Our in-house engineers also


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  provide services for engineering projects independent of architectural design

  services.”

        39.     The corporate structure of LAD and LAN Inc. is such that LAD

  exerts nearly unfettered control over its subsidiary. The top executives between

  Defendants are identical—Leo A. Daly, III serves as Chairman and CEO of both

  LAD and LAN Inc., and Dennis W. Petersen is the President of both. Three of

  LAN Inc.’s seven directors are high ranking LAD executives, including Mr. Daly,

  Mr. Petersen, and James B. Brader, the CFO of LAD. While LAN Inc. does not

  appear to retain a CFO, LAD’s CFO is one of LAN Inc.’s seven board members.

  On information and belief, Mr. Brader serves as the de facto CFO of LAN Inc. and

  controls LAN Inc.’s finances.     LAD and LAN Inc. share offices in Houston

  (LAN’s principal place of business), Los Angeles, and Miami. The relationship

  between these entities is exemplified by the footer on the bottom of the “Final

  Operational Report, Trihalomethane Formation Concern,” which lists the author as

  “LAN, Lockwood, Andrews & Newnam, Inc. A Leo A Daly Company.” Both this

  document and the LAN Inc. website, http://www.lan-inc.com/, include the logo:




  Similarly, LAN’s Flint office boasts the following sign clearly describing it as, “A

  Leo A Daly Company”:


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           40.   Defendants LAN PC, LAN Inc., and LAD (collectively “LAN” or

  “LAN Defendants”) are defendants in this action based on their collective failure

  to properly place the Flint Water Treatment Plant into operation using the Flint

  River as a primary source, specifically neglecting to ensure the viability of the

  water source for use by the public; failing to insist upon and implement the

  necessary safeguards through the plant to allow the water to be safely consumed by

  the public; and failure to report the dangers associated with not installing proper

  anti-corrosive treatment when using the Flint River as a primary source of drinking

  water.     The LAN Defendants worked in concert in negligently advising the

  government and thereby causing the damage alleged herein. In addition to the alter

  ego allegations above, the entities are referred to collectively because they acted in

  concert and their acts overlapped or were identical.

           41.   Defendant Veolia LLC is a Delaware Limited Liability Company

  with its principal place of business at 200 E. Randolph Drive, Suite 7900, Chicago,

  Illinois 60601.

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        42.     Defendant Veolia Inc. is a Delaware Limited Liability Company

  with its principal place of business at 200 E. Randolph Drive, Suite 7900, Chicago,

  Illinois 60601.

        43.     Defendant Veolia Water is a Delaware Limited Liability Company

  with its principal place of business at 101 W. Washington Street, Suite 1400 East,

  Indianapolis, Indiana 46204.

        44.     Veolia LLC, Veolia Inc., and Veolia Water design and provide water

  solutions for communities and industries across North America under the banner

  “Veolia North America.”

        45.     Non-party Veolia Environment S.A. is a French transnational

  corporation with its principal place of business at 36-38 Avenue Kleber, 75116,

  Paris, France. Veolia Environment S.A. provides its services through, and thus

  derives its revenues from, its four global divisions—water management, waste

  management, public transport, and energy services. The divisions provide its

  services across the globe, and in North America, those services are provided under

  the aforementioned moniker “Veolia North America.”

        46.     In or around 2005, Veolia Environment S.A. united these four

  global divisions under a single umbrella, and since then, has held out itself and all

  other Veolia entities to the world simply as one “Veolia.”           Indeed, Veolia




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  Environment S.A. adopted this simple “Veolia” branding across all of its

  businesses, which is evidenced on its website and press releases.

        47.     The four global divisions are composed of the subsidiaries and other

  businesses owned and otherwise controlled by Veolia Environment S.A.

        48.     Veolia Environment S.A. and its divisions also underwent a

  restructuring beginning around 2011. As described by Veolia Environment S.A.

  Chair and CEO Antoine Frerot, “[o]ur new organization is based on some simple

  principles—operating as an integrated company, establishing a single Veolia in

  each country, setting up regional management teams and strengthening corporate

  management functions.” Veolia 2013 Annual and Sustainability Report at 10. In

  other words, “[t]he new Veolia is one Veolia.” Id. at 14.

        49.     As a result, the corporate structure of Veolia Environment S.A.,

  Veolia LLC, Veolia Inc., and Veolia Water (the latter three collectively, “Veolia”

  or “Veolia Defendants”) is such that Veolia Environment S.A. exerts nearly

  unfettered control over the entire Veolia empire. The Veolia Defendants hold

  themselves out to the world as a single entity, examples of which are numerous and

  readily observed in the public domain. For example, the Veolia website makes no

  effort to distinguish or advertise any distinct legal entities, instead grouping them

  together and collectively presenting themselves to the world as “Veolia.” When

  “Veolia” advertises the number of its employees and reports its annual revenue, it


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  does so collectively. And Veolia markets itself as “Veolia, which is the world’s

  largest water services and technology company.”

        50.         In Flint, Michigan specifically, a February 10, 2015 joint press

  release stated:

               The City of Flint has retained a team of urban water experts from
               Veolia North America to conduct an analysis of the city’s water
               system. Veolia, which is the world’s largest water services and
               technology company, will assess how Flint’s water is tested and
               distributed, including reviewing water treatment processes and
               operations, laboratory testing and analysis, and engineering reports
               that detail the city’s treatment and distribution systems.

        51.         And, in a February 2015 Veolia Water Quality Report, which forms

  part of the basis of Plaintiffs’ claims and has caused plaintiffs severe injuries, the

  Veolia Defendants refer to themselves simply as “Veolia.”

        52.         Upon information and belief, the Veolia Defendants are controlled

  by the same top executives and revenues are commingled and reported as one. As

  such, the Veolia Defendants disregard corporate formalities and do not adequately

  or separately capitalize each of their respective businesses.

        53.         The Veolia Defendants have abused the corporate form to avoid

  liability in this matter. Indeed, while it appears Veolia Water may have executed

  the subject contract with the City of Flint, the Veolia Defendants, together, as

  indistinguishable entities, performed services, and presented their conclusions as




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  “Veolia.” At all times relevant, the Veolia Defendants have represented to the

  world that they are not distinct legal entities but rather one and the same.

        54.      The Veolia Defendants collectively maintain several offices in

  Michigan, including Westland, Livonia, and Grand Rapids, where they regularly

  conduct business.

        55.      The Veolia Defendants are parties to this action based upon

  providing professionally negligent engineering services in reviewing Flint’s water

  system and declaring the water safe to drink. The Veolia Defendants worked in

  concert in negligently advising the government and thereby causing the damage

  alleged herein. In addition to the alter ego allegations herein, the entities are

  referred to collectively because they acted in concert and their acts overlapped or

  were identical.

        56.      Additionally, both the Veolia and LAN Defendants are parties to this

  action because, among other reasons, they were professionally negligent in several

  ways: These defendants (1) failed to conduct a root cause analysis which would

  have revealed that the pipes were corroding and causing lead and legionella to

  enter the residents’ homes; (2) failed to recognize at least several red flags that

  should alert a prudent engineer to extensive corrosion problems and lead to

  implementation of effective protective measures; (3) failed to advise the City that

  they were out of compliance with the Safe Drinking Water Act’s Lead and Copper


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  Rule; (4) failed to advise the City that the addition of a corrosion inhibitor was

  necessary to prevent lead poisoning and Legionnaires’ disease; and (5) advised the

  City to use or even increase the dosage of highly acidic ferric chloride, rather than

  advising that the pH of the water should be increased.

        C.     Government Defendants
        57.      All individual Defendants are sued in their individual and/or

  official capacities as indicated below.

        58.       Defendant Rick Snyder is the Governor of the State of Michigan

  (“Governor”) and is vested with executive power pursuant to Art. V, Section 1 of

  the Michigan Constitution. The Governor is responsible for the management of

  state government for the health and welfare of its citizens and residents and is sued

  by Plaintiffs and the Class in both his individual capacity for compensation for the

  Plaintiffs, insofar as his deliberate conduct constituted an abuse and/or misuse of

  his authority, and, in his official capacity, for prospective equitable relief to correct

  the harm caused and prolonged by state government and to prevent future injury.

  The Governor is sued in his individual capacity for the injuries he caused to

  Plaintiffs resulting from his deliberately indifferent deprivation of Plaintiffs’

  constitutional and civil rights.

        59.      Defendant State of Michigan (“the State”) operates its Department of

  Environmental Quality (“MDEQ”), which is the state department primarily


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  responsible for the environmental safety and health of Michigan citizens and

  residents. The State is sued for injunctive and/or prospective relief, because, acting

  through MDEQ and its employees, it caused the public health crisis at issue in this

  case, concealed the harm that it caused, and has exacerbated and prolonged the

  injuries to Plaintiffs by failing to effectively remediate the harm it caused and

  concealed.

        60.      Daniel Wyant (“Wyant”) was Director of MDEQ and is sued by

  Plaintiffs in his individual capacity because he participated in the decisions that

  deliberately created, increased, and prolonged the public health crisis at issue in this

  case and participated in the concealment of the harm.

        61.      Andy Dillon (“Dillon) was Treasurer for the State of Michigan and is

  sued by Plaintiffs in his individual capacity because he, along with the Governor,

  Jeff Wright, Dayne Walling, and Edward Kurtz, caused harm to Plaintiffs when he

  participated in the development of an interim water delivery plan in June 2013

  which favored the predominately white Genesee County water users and

  discriminated against the water users in Flint, a predominantly African American

  community.

        62.      Nick Lyon (“Lyon”) was Director of the Michigan Department of

  Health and Human Services (“MDHSS”) and is sued by Plaintiffs in his individual

  capacity because he participated in the decisions that deliberately created,


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  increased, and prolonged the public health crisis at issue in this case and

  participated in the concealment of the harm his department caused Plaintiffs.

          63.    Nancy Peeler (“Peeler”) was the MDHHS Director for the Program

    for Maternal, Infant and Early Childhood Home Visiting, and was the individual

    in charge of MDHHS’s childhood lead poisoning program. Peeler is sued in her

    individual capacity because during her term as an MDHHS employee, she

    participated in the decisions that deliberately created, increased, and prolonged the

    public health crisis at issue in this case and participated in the concealment of the

    harm her department caused Plaintiffs.

        64.      Liane Shekter-Smith (“Smith”) was Chief of the Office of Drinking

  Water and Municipal Assistance for MDEQ, holding that position until October 19,

  2015 when she was removed from her position. Smith is sued in her individual

  capacity because during her term as Chief of Drinking Water for MDEQ, she

  approved and participated in the decisions that deliberately created, increased, and

  prolonged the public health crisis at issue in this case and participated in the

  concealment of the harm her department caused Plaintiffs.

        65.      Adam Rosenthal (“Rosenthal”) was a Water Quality Analyst

  assigned to the Lansing District Office of the MDEQ. Rosenthal is sued in his

  individual capacity because, as Water Quality Analyst for MDEQ, he approved and

  participated in, the decisions that deliberately created, increased, and prolonged the


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  public health crisis at issue in this case and participated in the concealment of the

  harm his department caused Plaintiffs.

         66.     Stephen Busch (“Busch”) was District Supervisor assigned to the

  Lansing District Office of the MDEQ. Busch is sued in his individual capacity

  because, as District Office Supervisor of MDEQ, he deliberately created, increased,

  and prolonged the public health crisis at issue in this case and participated in the

  concealment of the harm his department caused Plaintiffs.

         67.     Patrick Cook (“Cook”) was at all relevant times a Water Treatment

  Specialist assigned to the Lansing Community Drinking Water Unit of the MDEQ.

  Cook is sued in his individual capacity because, as Water Treatment Specialist

  District of MDEQ, he approved of, and thereby participated in, the decisions that

  deliberately created, increased, and prolonged the public health crisis at issue in this

  case and participated in the concealment of the harm his department caused

  Plaintiffs.

         68.     Michael Prysby (“Prysby”) was an Engineer assigned to District 11

  (Genesee County) of the MDEQ.            Prysby is sued in his individual capacity

  because, as Engineer assigned to District 11, he approved of, and thereby

  participated in the decisions that deliberately created, increased, and prolonged the

  public health crisis at issue in this case and participated in the concealment of harm

  his department caused Plaintiffs.


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          69.      Bradley Wurfel (“Wurfel”) was the Director of Communications for

  MDEQ.         Wurfel is sued in his individual capacity because, as Director of

  Communications for MDEQ, he was responsible for the deliberately misleading and

  inaccurate communications that increased and prolonged the public health crisis at

  issue in this case and for making false statements and providing false assurances

  which caused harm to Plaintiffs.

          70.      Jeff Wright (“Wright”) has been the Genesee County Drain

  Commissioner since 2001.       Wright is sued in his individual capacity because, as

  the Genesee Country Drain Commissioner, he conspired with other Defendants to

  deprive Plaintiffs of their civil and constitutional rights and participated in and/or

  aided and abetted others to violate Plaintiffs’ rights to full and equal enjoyment of

  public services as guaranteed under the ELCRA and the Equal Protection Clause of

  the 14th Amendment, as well as the 13th Amendment to the United States

  Constitution.

          71.      Edward Kurtz (“Kurtz”) was the Emergency Manager of Flint

  appointed by the Governor in August 2012 and served in this capacity until July

  2013.    Kurtz is sued in his individual capacity because, during his term as

  Emergency Manager of Flint, he deliberately created, increased, and prolonged the

  public health crisis at issue in this case and participated in the concealment of the

  harm he caused Plaintiffs. Kurtz is also sued because he conspired with other


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  Defendants to deprive Plaintiffs of their civil and constitutional rights and

  participated in or aided and/or abetted others to violate Plaintiffs’ rights to full and

  equal enjoyment of public services as guaranteed under the ELCRA and the Equal

  Protection Clause of the 14th Amendment, as well as the 13th Amendment to the

  United States Constitution.

        72.      Darnell Earley (“Earley”) was the Emergency Manager of the City of

  Flint appointed by the Governor on November 1, 2013 and served in this capacity

  until January 12, 2015. Earley is sued in his individual capacity because, during his

  term as Emergency Manager of Flint, he deliberately created, increased, and

  prolonged the public health crisis at issue in this case and participated in the

  concealment of the harm he caused Plaintiffs. Earley is also sued because he

  conspired with other Defendants to deprive Plaintiffs of their civil and

  constitutional rights and participated in and/or aided and abetted others to violate

  Plaintiffs’ rights to full and equal enjoyment of public services as guaranteed under

  the ELCRA and the Equal Protection Clause of the 14th Amendment, as well as the

  13th Amendment to the United States Constitution.

        73.      Gerald Ambrose (“Ambrose”) was the Emergency Manager of the

  City of Flint appointed by the Governor on January 13, 2015 and served in this

  capacity until April 28, 2015. Ambrose is sued in his individual capacity because,

  during his term as Emergency Manager of Flint, he deliberately increased and


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  prolonged the public health crisis at issue in this case and participated in the

  concealment of the harm he caused Plaintiffs. Ambrose is also sued because he

  conspired with other Defendants to deprive Plaintiffs of their civil and

  constitutional rights and participated in and/or aided and abetted others to violate

  Plaintiffs’ rights to full and equal enjoyment of public services as guaranteed under

  the ELCRA and the Equal Protection Clause of the 14th Amendment, as well as the

  13th Amendment to the United States Constitution.

        74.      Dayne Walling (“Walling”) was Mayor of Flint from August 4, 2009

  until November 9, 2015 when he was unseated by Karen Weaver. Walling is sued

  in both his individual and official capacities. He is individually liable insofar as he

  personally approved of, and thereby participated in, the decisions that deliberately

  created, increased, and prolonged the public health crisis at issue in this case and

  participated in the concealment of the harm he caused Plaintiffs. Walling is also

  sued because he conspired with other Defendants to deprive Plaintiffs of their civil

  and constitutional rights and participated in and/or aided and abetted others to

  violate Plaintiffs’ rights to full and equal enjoyment of public services as

  guaranteed under the ELCRA and the Equal Protection Clause of the 14th

  Amendment, as well as the 13th Amendment to the United States Constitution.

  Additionally, as Mayor, he was a policymaker for the Defendant City of Flint and




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  as such his actions constituted customs, policies, and/or practices of the Defendant

  City of Flint, within the meaning of Monell.

         75.     Howard Croft (“Croft”) was Director of Public Works for the City of

  Flint. Croft is sued in his individual capacity because, as Director of Public Works,

  he approved of, and thereby participated in, the decisions that deliberately created,

  increased, and prolonged the public health crisis at issue in this case and

  participated in the concealment of the harm he caused Plaintiffs.

         76.     Michael Glasgow (“Glasgow”) was Utilities Administrator for the

  City of Flint. Glasgow is sued in his individual capacity because as Utilities

  Administrator, he deliberately created, increased, and prolonged the public health

  crisis at issue in this case and participated in the concealment of the harm he caused

  Plaintiffs.

         77.     Daugherty Johnson (“Johnson”) was the Utilities Administrator for

  the City of Flint. Johnson is sued in his individual capacity because, as Utilities

  Administrator, he approved of, and thereby participated in the decisions that

  deliberately created, increased, and prolonged the public health crisis at issue in this

  case and participated in the concealment of the harm he caused Plaintiffs.

         78.     The City of Flint (“Flint”) is a municipal corporation, so authorized

  by the laws of the State of Michigan that operates Department of Public Works and

  provides water to its residents and property owners as part of its responsibilities and


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  services. Flint is a Defendant because, despite the protests of a number of elected

  and appointed officials within the organization, the municipal corporation itself,

  through its policies, customs, and practices deliberately created, increased, and

  prolonged the public health crisis at issue in this case and participated in the

  concealment of the harm it caused Plaintiffs. Flint is also sued because it deprived

  Plaintiffs of their civil and constitutional rights by violating Plaintiffs’ rights to full

  and equal enjoyment of public services as guaranteed under the ELCRA.

        79.      Defendants Kurtz, Earley and Ambrose as Emergency Managers,

  acted in both their individual capacities and as agents of the State of Michigan, and

  their official capacities as policy makers for Defendant City of Flint and as such

  their actions constituted customs, policies, and/or practices of Defendant City of

  Flint, within the meaning of Monell.

        80.      At all relevant times hereto, the conduct of Defendants Walling,

  Croft, Glasgow, and Johnson was pursuant to the customs, policies, and/or

  practices of Defendant City of Flint.

                               STATEMENT OF FACTS
        81.      This case arises from the tragic and preventable poisoning of the

  City of Flint. The outrageous acts and omissions of the Defendants have caused

  immeasurable and irreparable harm to Plaintiffs.




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        A.     Dangers From the Flint River Water Have Been Well-Known for
               Decades
        82.     On July 8, 1897, the City of Flint passed an ordinance requiring that

  all connections with any water mains shall be made with lead pipe.

        83.     The Flint Water Treatment Plant (“FWTP”) was constructed in 1917

  to draw water from the Flint River as the source of Flint’s drinking water for nearly

  50 years until 1964.

        84.     As early as 1964, the U.S. Geological Survey noted high levels of

  chloride in the Flint River. Due to the concerns regarding the adequacy of the Flint

  River to provide safe drinking water, Flint evaluated alternatives for a new water

  supply, and ultimately switched providers. From 1964 to 2014, Flint water users

  received their water from Lake Huron via purchase from the Detroit Water and

  Sewerage Department (“DWSD”). This water did not require treatment through

  the FWTP.

        85.     During this half-century, Flint water users enjoyed safe, clean, fresh

  water in their homes, businesses, hospitals, and other places of public services.

        86.     However, since approximately the 1990s, Flint and other local

  governmental entities had growing concerns over the cost of the DWSD water

  supply. Amidst these growing concerns, Flint and the other local governmental

  entities commissioned studies for alternative water supplies:



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              a.    A 2001 report by the Department of Natural Resources noted
                    that certain businesses along the Flint River had permits to
                    discharge runoff from industrial and mining activities as well as
                    petroleum and gasoline cleanups.

              b.    In 2004, a technical assessment of the Flint River raised
                    concerns about using the river as a source of drinking water.
                    One of the key points from the technical assessment, entitled
                    “Source Water Assessment Report for the City of Flint Water
                    Supply—Flint River Emergency Intake,” prepared by the U.S.
                    Geological Survey, the MDEQ, and the Flint Water Utilities
                    Department, was that the Flint River was a highly sensitive
                    drinking water source that was susceptible to contamination.

              c.    In 2006 and 2009, Flint and the local governmental entities
                    completed additional studies for alternative water supplies. The
                    2009 study, prepared by the LAN Defendants and others,
                    evaluated two alternatives for water supply—continue to
                    purchase from DWSD, or construct a new pipeline (later known
                    as the Karegnondi Water Authority (“KWA”) pipeline) from
                    Lake Huron.

              d.    In 2011, Flint officials commissioned a study to determine if
                    the Flint River could be safely used by the city as the primary
                    source of drinking water. The “Analysis of the Flint River as a
                    Permanent Supply for the City of Flint, July 2011” (“2011
                    Report”), prepared by Rowe Engineering and the LAN
                    Defendants, cautioned against the use of the Flint River water
                    and the dormant FWTP. The report concluded that “water from
                    the river can be treated to meet current regulations; however,
                    additional treatment will be required than for Lake Huron
                    Water . . . . Although water from the river can be treated to
                    meet regulatory requirements, aesthetics of the finished water
                    will be different than that from Lake Huron.” The study further
                    concluded that such treatments to Flint River water could be
                    done if improvements were made to the FWTP. However, if
                    used as a water supply, the study noted that “a source water
                    protection management plan should be developed to . . .
                    identify potential sources of contamination . . . .”



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                e.   The LAN Defendants also prepared an additional analysis,
                     attached to the 2011 Report as an appendix, which detailed over
                     $69 million in improvements that would have to be made to
                     ring the FWTP up to current standards. This additional analysis
                     specifically projected costs for corrosion control chemicals that
                     would be required to ensure the safety of water to be drawn
                     from the Flint River.
          87.    Use of the Flint River as a primary drinking source was rejected in

  2011.

          B.    Despite These Well-Known Dangers, Defendants Decided to Use
                Flint River Water as the Primary Water Source for the City of
                Flint
          88.    In August 2012, the Governor appointed Edward Kurtz as Flint’s

  Emergency Manager.

          89.    In November of 2012, Kurtz wrote to State of Michigan Treasurer

  Andy Dillon suggesting that Flint join the yet to be formed KWA due to projected

  cost savings over DWSD.        This was pursuant to the Emergency Manager’s

  mandate to cut costs, and consistent with political pressure from Genesee County

  Drain Commissioner Jeffrey Wright, who had encouraged the formation of the

  KWA in 2009.

          90.    Throughout 2012, DWSD presented to Kurtz, Wright, Dillon,

  Walling, and the Governor compelling arguments, based on numerous studies,

  demonstrating that from a cost and water reliability standpoint, Flint should reject

  Wright’s pressure to join KWA and continue to receive water from DWSD. Most


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  of the discourse about Flint joining KWA or continuing with DWSD included

  Wright who consistently raised arguments designed to persuade Kurtz, Dillon, and

  the Governor that the DWSD cost studies were wrong.

        91.    In late 2012, Dillon, reacting to Wright’s contention that the

  DWSD cost studies were wrong, requested the independent engineering firm of

  Tucker, Young, Jackson and Tull (“TYJT”) to assess whether it would be cost-

  effective for Flint to switch from water supplied by DWSD and join the KWA

  water delivery system. In February 2013, TYJT concluded that it would be

  more cost-effective for Flint on both a short term and long term basis to

  continue to be supplied with water from DWSD. In an email from Treasurer

  Dillon to Governor Snyder dated March 17, 2013, Dillon noted that the KWA

  representatives were misrepresenting the benefits of the deal and that the

  “(r)eport that I got is that Flint should stay w DWSD.”

        92.    Likewise, on March 26, 2013, Busch sent an email to Wyant,

  copying Shekter-Smith, discussing the risks associated with using the Flint

  River as a drinking water source for the City of Flint. Indeed, Busch stated

  that the use of Flint River water would pose increased health risks to the

  public, including a microbial risk, an increased risk of disinfection by-product

  [trihalomethanes often referred to as “Total Trihalomethanes” or “TTHM”]




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  exposure, the triggering of additional regulatory requirements, and significant

  upgrades to the Flint Water Treatment Plant.

        93.     On March 27, 2013, MDEQ officials, sensing that Kurtz, Wright,

  Walling, and Dillon (in spite of his earlier email suggesting that Flint should

  “stay w DWSD”) were pushing the Governor to approve the KWA deal,

  acknowledged that the decision to switch the water source for Flint was not

  based on a scientific assessment of the suitability of the Flint River water. In

  the words of MDEQ Deputy Director Jim Sygo, “[a]s you might guess we are

  in a situation with Emergency Financial Managers so it’s entirely possible that

  they will be making decisions relative to cost.”

        94.     On March 28, 2013, in an email from Dillon to Governor Rick

  Snyder, with copies to numerous other Treasury officials and Wyant, Dillon

  recommended that he authorize KWA going forward, even though the

  independent firm he hired to perform a cost evaluation said staying with DWSD

  made the most economic sense. Dillon wrote the Governor, explaining that,

  “based upon today’s presentations to the DEQ by the City of Flint, KWA and the

  engineering firm (Tucker Young) Treasury hired to vet the options as to whether

  Flint should stay with DWSD or join KWA, I am recommending we support the

  City of Flint’s decision to join KWA. The City’s Emergency Manager, Mayor,




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  and City Council all support this decision. Dan Wyant likewise concurs and will

  confirm via email.”

         95.        Governor Snyder was personally involved in the decisional process

  which led to the transition from DWSD to the KWA. Indeed, because both the

  City of Flint and the City of Detroit were under State of Michigan emergency

  management at the time, Snyder was briefed on reports from both Flint’s and

  Detroit’s emergency managers and issued directions to both managers as it related

  to the transition.

         96.        On April 4, 2013, Governor Snyder’s Chief of Staff Dennis

  Muchmore emailed Governor Snyder and stated that “(a)s you know, the Flint

  people have requested Dillon’s ok to break away from the DWSD.”             Snyder

  instructed Muchmore, Dillon, Detroit’s Emergency Manager Kevin Orr, DWSD

  personnel, and Flint Emergency Manager Ed Kurtz to require DWSD to submit an

  additional offer to continue as Flint’s water provider before allowing Dillon to

  authorize the transition away from DWSD.

         97.       Later in April, DWSD submitted a final proposal to Flint’s

  Emergency Manager Ed Kurtz and the proposal, detailed background, and

  financial information were all forwarded to Governor Snyder by his Executive

  Director, Allison Scott, with an email stating “looks like they were following your

  instructions.”


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        98.      Shortly thereafter, Brom Stiblitz, a Senior Policy Advisor in the

  Michigan Department of Treasury emailed Snyder’s Executive Director, Ms. Scott,

  and informed her that Flint’s Emergency Manager Kurtz and Detroit’s Emergency

  Manager Orr had spoken and that “Flint will not accept the last offer from

  DWSD.” Again, Ms. Scott forwarded the information to Governor Snyder in an

  email dated April 29, 2013 and stated “(l)ooks like they adhered to the plan.”

        99.      Governor Snyder, in what is now understood to be a non-fiscal

  decision, authorized Kurtz, through Department of Treasury officials, to enter into

  a contractual relationship with KWA for the purpose of supplying water to Flint

  beginning in mid-year 2016.

        100.     Governor Snyder participated in discussions between his appointed

  Emergency Manager of Flint, Mr. Kurtz, and his appointed Emergency Manager of

  Detroit, Kevin Orr. At the time the Governor authorized Kurtz to contractually

  bind Flint to the KWA project, the Governor and State officials knew that the Flint

  River would be used as an interim source and that the use of the interim source had

  the backing of Snyder, Andy Dillon, and MDEQ Director Wyant.

        101.     In June 2013, Dillon, Kurtz, Wright, and Walling developed an

  interim plan (“Interim Plan”) to use the Flint River water before KWA became

  operational.   The Interim Plan would cover 2.5 years (April 25, 2014 until

  approximately October 2016).


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        102.    Dillon, Kurtz, Wright, and Walling knew that in 2011 the Flint River

  was professionally evaluated and rejected as a drinking source and that upgrades

  for the FWTP would cost millions.

        103.    The Governor, in a timeline prepared by his office, confirmed

  that in June 2013, he knew that Flint River water would be used as an interim

  source of water.

        104.    In May 2013, Emergency Manager Kurtz announced his resignation

  effective July 2013.     The Governor reappointed Michael Brown as Flint’s

  Emergency Manager.

        105.    In September 2013, after Emergency Manager Brown resigned,

  Darnell Earley was appointed by the Governor as Flint’s Emergency Manager.

        106.    As Emergency Manager, Earley was, by his own admission,

  responsible for ensuring that the City of Flint was in compliance with state and

  federal laws regarding safe drinking water. In his testimony to the United States

  House Committee on Oversight and Government Reform on March 15, 2016, he

  stated “the [e]mergency [m]anager obviously is the person responsible for making

  sure that those things get done, and I’ve always accepted that.”

        107.    On March 14, 2014, Brian Larkin, then associate director of the

  Michigan Governor’s Office of Urban and Metropolitan Initiatives, foretold of the

  crisis in an email to several others in the governor’s office stating, “The expedited


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  timeframe,” of switching Flint’s water sources, “is less than ideal and could lead to

  some big potential disasters down the road.”

        108.    Despite having been copied on an email alerti ng her to the

  potential dangers of switching Flint ’s water source nearly a year

  earlier, on March 20, 2014 Shekter-Smith played an integral role in ensuring that

  the City of Flint received an Administrative Consent Order that (i) required Flint to

  make use of the Flint Water Treatment Plant, (ii) attempted to prevent Flint from

  ever returning to the DWSD and (iii) mandated Flint to “undertake the KWA

  public improvement project or undertake other public improvement projects to

  continue to use the Flint River, such as additional Flint Water Treatment Plant

  public improvements, source water protection public improvements, and public

  improvements to obtain a back-up water supply, in order to comply with Act 399.”

        109.    Michael Glasgow, the City of Flint’s water treatment plant’s

  laboratory and water quality supervisor informed the MDEQ on April 17,

  2014, that the FWTP was not fit to begin operations and that “management” was

  not listening to him because “they seem to have their own agenda.” Glasgow had

  told Rosenthal the day before, in the same e-mail chain, “. . . it looks as if we will

  be starting the plant up tomorrow and are being pushed to start distributing water

  as soon as possible . . . . I would like to make sure we are monitoring, reporting

  and meeting requirements before I give the OK to start distributing water.” The


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  next day, Glasgow wrote Prysby and Busch of the MDEQ, that “. . . I have people

  above me making plans to distribute water ASAP. I was reluctant before, but after

  looking at the monitoring schedule and our current staffing, I do not anticipate

  giving the OK to begin sending water out anytime soon. If water is distributed

  from this plant in the next couple of weeks, it will be against my direction. I need

  time to adequately train additional staff and to update our monitoring plans before I

  will feel we are ready. I will reiterate this to management above me, but they seem

  to have their own agenda.”

        110.     Glasgow later told State investigators that he received pressure from

  superiors—particularly Defendants Johnson and Croft—to begin the switch to the

  Flint River.

        111.     On April 18, 2014, Joshua Spencer, who was responsible for

  handling public relations for the City of Flint, urged the City to issue a press

  release stating, “The Tests are in. The Water is Good!;” “In an effort to dispel

  myths and promote the truth about the Flint River and its viability as a residential

  water resource, there have been numerous studies and tests conducted on its water

  by several different independent organizations;” and “For nearly 10 years Mike

  Glasgow has worked in the laboratory at the City of Flint Water Service Center.

  He has run countless tests on our drinking water to ensure its safety for public use.

  Mike has not only conducted tests on water provided to us by Detroit, but also on


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  local water from nearby rivers, lakes and streams including the Flint River. When

  asked if over the last decade of he has seen any abnormalities of major concern in

  the water, his response was an emphatic, ‘No.’” Johnson told early that as an

  MDEQ Official, he was “comfortable releasing the ad.”

        112.    MDEQ’s Cook signed a permit in 2014 that was the last approval

  necessary for the use of the Flint Water Treatment Plant.

        113.    Beginning in June 2013 and continuing through April 25, 2014, the

  State created a dangerous public health crisis for the users of Flint tap water when

  it and Kurtz and Earley ordered and set in motion the use of highly corrosive and

  toxic Flint River water knowing that the FWTP was not ready.

        114.    For at least a year prior thereto, the State knew that using the Flint

  River water was dangerous and could cause serious public health issues.

        C.     The LAN Defendants Failed to Meet Their Duties of Care and
               Competence as Design Engineers for the Flint Water Treatment
               Plant
        115.    On June 10, 2013, the LAN Defendants submitted a proposal to Flint

  for upgrading the FWTP entitled “Flint Water Treatment Plant Rehabilitation –

  Phase II.” The proposal was to make “improvements . . . intended to help the City

  operate[] the plant on a full time basis using the Flint River.” The proposal was

  signed by J. Warren Green, Professional Engineer (Project Director) and Samir F.

  Matta, Professional Engineer (Senior Project Manager).


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        116.    The LAN Defendants claimed in their proposal that their “staff has

  the knowledge, expertise and the technical professionals to handle all aspects of the

  projects. Our staff has firsthand knowledge of the [FWTP] . . . .”

        117.    The proposal included the following relevant sections:

               a.    A “Scope of Services” section that stated the “project involves
                     the evaluation and upgrade of the Flint Water Plant to provide
                     continuous water supply service to the City of Flint (Flint) and
                     its customers.” The upgrades and improvements would allow
                     the use of the Flint River as a water supply.
               b.    A “Standards of Performance” section where the LAN
                     Defendants “agree[d] to exercise independent judgment and to
                     perform its duties under this contract in accordance with sound
                     professional practices.” As part of the proposal, it was
                     understood that Flint was relying upon the professional
                     reputation, experience, certification, and ability of the LAN
                     Defendants.

        118.    In or around June 2013, Flint formally retained the LAN Defendants

  as the design engineer for improvements and upgrades to the FWTP for the

  treatment of new water sources, including both the Flint River and the KWA

  pipeline. In deciding to proceed with the transition to the Flint River, the City of

  Flint noted the LAN Defendants’ “extensive experience in this field,” and relied

  upon the LAN Defendants’ identification of the “engineering, procurement, and

  construction needs” for the project. Although the City recognized that water from

  the Flint River “would be more difficult to treat,” the City concluded, based on

  LAN’s recommendations, that the Flint River was “viable as a source” of the


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  City’s water. LAN continued to advise the City with respect to its transition to the

  Flint River through 2015, and ultimately was paid more than $3.8 million for its

  engineering services.

        119.        Upon information and belief, there were no bids submitted by the

  LAN Defendants or any other firm for this work, nor were any other firms

  considered for this work. The contract was awarded without competitive bidding.

        120.        On June 29, 2013, LAN met with representatives of Flint,

  representatives of the Genesee County Drain Commissioners Office and the

  MDEQ to discuss:

               a.       Using the Flint River as a water source;
               b.       The ability to perform the necessary upgrades to the FWTP;

               c.       The ability to perform quality control;
               d.       The ability for Flint to provide water to Genesee County;

               e.       The ability to meet an April or May 2014 timeline; and

               f.       Developing a cost analysis.

        121.        According to incomplete meeting minutes, “the conversation was

  guided with focus on engineering, regulatory, and quality aspects . . .” of the items

  previously referenced, and the following determinations were made:

               a.       The Flint River would be more difficult to treat, but was viable
                        as a source;

               b.       It was possible to engineer and construct the upgrades needed
                        for the treatment process;


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               c.       It was possible to perform quality control “with support from
                        LAN engineering which works with several water systems
                        around the state, quality control could be addressed[;]”

               d.       FWTP did not have the capacity to treat and distribute
                        sufficient water to meet the needs of Flint and Genesee County;
               e.       There were many obstacles to overcome, but completion by the
                        April or May 2014 timeline was reachable; and
               f.       The next steps were for the LAN Defendants to present Flint
                        with a proposal that would include engineering, procurement,
                        and construction needs for the project along with cost estimates.

        122.        LAN was directly involved in conversations about the potential for

  lead contamination following the switch. According to a September 3, 2015 email

  with the subject “Flint Water,” sent to Warren Green and Samir Matta of LAN,

  along with various city and state officials, Public Works Director Howard Croft

  addressed concerns about the amount of lead found in the water, stating, “[a]t the

  onset of our plant design, optimization for lead was addressed and discussed with

  the engineering firm and with the DEQ.”

        123.        Since 1965, the FWTP served as a secondary and backup water

  supply system to the DWSD. Typically, a secondary supply for a public water

  system would be needed only during emergency situations, and is normally

  designed for short-term operation such as providing the average daily demand for

  only a few days.

        124.        Upon information and belief, the FWTP was previously upgraded in

  or around 2004 in order to allow it to operate for an extended short-term period

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  (i.e., approximately 6 weeks) because of a perceived high risk that the DWSD

  supply would fail and remain out of service for an extended duration.

        125.     Due to the aforementioned 2013 agreement, the FWTP needed

  upgrading to operate on a full-time basis, otherwise it would be unable to provide

  the citizens of Flint with sufficient quantities of water.

        126.     In April of 2014, the LAN Defendants, Flint, and MDEQ officials

  addressed and discussed optimization for lead, and they decided that having more

  data was advisable before implementing an optimization method.

        127.     On April 9, 2014, the City received the necessary permits from

  MDEQ to draw Flint River water for distribution as the supply source for its water

  distribution system during the multi-year transition to the new KWA facility.

        128.     Despite receiving these permits, the Flint water system was not

  prepared for the switch to Flint River water. The Flint River was contaminated

  with rock-salt chlorides washed into the river from road surfaces over the course of

  many harsh Michigan winters. The level of chlorides in the Flint River was eight

  times the levels provided in DWSD water. Chlorides are highly corrosive, and

  must be neutralized with anticorrosive agents, such as phosphates, before entering

  public water systems. It is well known that corrosive water that is not properly

  treated results in the corrosion of pipes, such that the metals in the pipes, including

  lead, will leach into drinking water.


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        129.    The LAN Defendants knew, if not recommended, that the FWTP

  would begin drawing water from the Flint River later that month that would not be

  treated with anti-corrosive measures. Moreover, the potential consequences in

  endangering the public health as a result of not using anti-corrosive treatments

  when using water from the Flint River as the primary source were or should have

  been well-known and foreseeable to the LAN Defendants, engineering firms that,

  according to their website, were a “national leader in the heavy civil infrastructure

  engineering industry,” “one of the most respected engineering firms in the United

  States today,” and “a recognized leader in the industry with a rich history of

  serving a diverse group of heavy civil infrastructure clients across the country.”

        130.    From July of 2013 through April of 2014, the LAN Defendants

  provided professional engineering services associated with the switch from the

  DWSD to the FWTP, but failed to meet their duty of care and competence. The

  LAN Defendants were responsible for providing engineering services to ensure

  that the FWTP was equipped to treat water from each of its new sources. The

  LAN Defendants’ actions facilitated the transfer of Flint’s water source to river

  water without proper corrosion control treatment. The improvement and upgrade

  plans to the FWTP were approved by MDEQ in April of 2014 pursuant to plans

  and specifications signed and sealed by the LAN Defendants. Further, the LAN

  Defendants, as Flint’s outside contractor, had a duty to recognize the need for


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  corrosion control and advise that it should be implemented. Yet, incredibly, at the

  time of the switch to Flint River water, no phosphates were being added to the

  water supply. In fact, nothing whatsoever was being done to account for the

  corrosive nature of the Flint River water. Moreover, the LAN Defendants did not

  require water quality standards to be set for the Flint River water that would be

  delivered to Flint’s residents and property.

        D.     Numerous Signs of the Public Health Crisis Caused By the
               Contaminated Water Were Evident Within Weeks of the Switch
        131.    On April 25, 2014, Flint officially began using the Flint River as its

  primary water source, despite the fact that the proper preparations had not been

  made and Glasgow had warned that the FWTP was not ready.

        132.    Within weeks of switching water sources, complaints began to pour

  in from residents regarding the smell, taste, and color of the drinking water.

        133.    Indeed, as early as May 15, 2014, within two weeks of the switch to

  Flint River water, Shekter-Smith had received numerous citizen complaints,

  including one forwarded from the EPA’s Jennifer Crooks regarding rashes caused

  by the new water.

        134.    In June 2014, citizen complaints about contaminated water

  continued without the State doing anything to address these complaints. Many

  Flint water users reported that the water was making them ill.



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        135.    On August 14, 2014, Flint’s water tested above legal limits for total

  coliform and E. coli bacteria. The City issued boil water advisories on August 16,

  2014 and September 5, 2014 in response.

        136.    To address the bacteria problem, the water was treated with

  additional chlorine. However, as has been well known for decades, in corroded

  pipes, chlorine preferentially reacts with the bare metal instead of attacking solely

  bacteria. The addition of substantial amounts of chlorine to a water supply was

  thus ineffective in treating bacteria—so more chlorine was added.

        137.    The use of chlorine to disinfect water produced various disinfection

  byproducts, including trihalomethanes (“TTHM”).          When bare pipes are not

  protected with a corrosion control protocol, more chlorine yields more TTHM.

        138.    Immediately after the discovery of Flint’s bacterial problems, it was

  apparent that Flint’s TTHM levels were high. This should have been a red flag

  that the steel in the pipes had been laid bare by the high salt concentrations the

  water pumped from the Flint River.

        139.    Moreover, PowerPoint slides circulated among MDEQ officials—

  including Busch, Prysby, and Rosenthal—in March and April 2015 showed that

  MDEQ officials knew as early as May 2014 that the water contained TTHM levels

  above the EPA’s maximum contaminant level. According to the presentation, the

  City and MDEQ had also been receiving complaints about the water for some time,


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  including about the water’s taste, odor, color, and that it was causing rashes but

  this failed to prompt any action.

         140.    As officials were beginning to assess the extent of Flint’s TTHM

  problems, another problem emerged in the summer of 2014—the Michigan

  Department of Health and Human Services (MDHHS) reported an outbreak of

  Legionnaires’ disease—another red flag.

         141.    Legionnaires’ disease is a severe form of pneumonia which, when

  treated early enough, has a mortality rate of 20%; if left untreated, the rate rises to

  80%.    Infection in humans occurs when water droplets contaminated with

  legionella bacteria are inhaled or when water-containing legionella enters the

  trachea. Extensive studies of legionella have established that the pathogen enters

  the water supply when the “bio-film” protecting pipes is stripped away—which is

  exactly what happened when the River’s corrosive water entered the City’s pipes.

         142.    On October 3, 2014, an email from Jason Lorenz, the Public

  Information Officer for the City of Flint, informed Ambrose and later Earley about

  the spike in cases of Legionnaires’ disease. Earley responded to the email chain

  disclaiming any connection between the outbreak and Flint’s water, writing that

  the City’s “message” should be that the outbreak was “an internal issue at McLaren

  [Hospital] that they are working on with our assistance, not a Flint water problem

  that we are trying to resolve.”       Statements made to the Michigan Attorney


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  General’s Office as part of its investigation into the crisis show that “MDHHS

  personnel were not in agreement with Earley ‘message.’”

        143.     In addition to a rise in the reported incidence of Legionnaires’

  disease, MDHHS first noted another potential problem related to Flint’s water in

  September 2014—lead poisoning rates “were higher than usual for children under

  age 16 living in the City of Flint during the months of July, August and September,

  2014.”

        144.     As early as October 1, 2014, it was known that one of the causes of

  the bacterial contamination was the existence of iron pipes in the City’s water

  distribution system.

        145.     Most of Flint’s 550 miles of water mains are now over 75 years old

  and constructed of cast iron piping. Cast iron pipe is subject to internal corrosion,

  called tuberculation, which causes buildup on the pipe interior, leading to water

  quality issues, reduced flow and pressures, and leakage.         Tuberculation also

  encourages the development of biofilms, layers of bacteria that attach to the

  interior pipe wall.

        146.     On October 13, 2014, General Motors ceased the use of Flint River

  water at its engine plant because of fears that it would cause corrosion due to high

  levels of chloride.




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        147.    Governor Snyder’s senior executive staff was immediately aware of

  the ramifications of GM’s decision and the adverse health effects confronting the

  citizenry of Flint.   In an email written only the day after GM’s decision to

  withdraw from Flint River-sourced water, Deputy Legal Counsel and Senior Policy

  Advisor to the Governor Valerie Brader wrote:

        Now we are getting comments about being lab rats in the media,
        which are going to be exacerbated when it comes out that after the
        boil water order, there were chemicals in the water that exceeded
        health-based water quality standards. I think we should ask the EM to
        consider coming back to the Detroit system in full or in part as an
        interim solution to both the quality, and now the financial, problems
        that the current solution is causing.

  Brader’s email was addressed to Dennis Muchmore, Governor Snyder’s Chief of

  Staff, Michael Gadola, the Governor’s Legal Counsel and Jarrod Agen, the

  Governor’s Communications Director. Brader also noted that she intentionally

  did not distribute her email to officials at MDEQ to keep the communication secret

  and hidden under the Freedom of Information Act. But she noted that she had

  been in touch with MDEQ officials to brief Flint’s Emergency Manager “directly

  on the water quality issues.”

        148.    Richard Baird, Governor Snyder’s “Transformation Manager” and

  close confidant, who also received a copy of Brader’s email, was then present for a

  conference call with Earley during which Earley rejected the idea of returning to

  the Detroit Water & Sewer Department.


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        149.     The following day, Governor Snyder’s Legal Counsel Michael

  Gadola issued a more frank assessment of the health issues associated with using

  the Flint River as the drinking water source for the population of Flint calling its

  use “downright scary.” Gadola advised that, “[t]hey should try to get back on the

  Detroit system as a stopgap ASAP before this thing gets too far out of control.”

        150.     On December 31, 2014, the first round of lead monitoring showed

  results exceeding the Lead and Copper Rule’s action levels for lead, 15 parts per

  billion. Worse yet, these samples were not drawn from the highest risk homes as

  required by the Lead and Copper Rule.

        151.     In January 2015, David Murray, Governor Snyder’s deputy press

  secretary, saw an email from Wurfel stating, “I don’t want my director to say

  publicly that the water in Flint is safe until we get back the results of some county

  health department of epidemiological trace-back work on 41 cases of

  Legionnaires’ disease in Genesee County since last May.”

        152.     On January 9, 2015, University of Michigan-Flint water tests

  revealed high lead levels in two locations on campus, causing the university to turn

  off certain water fountains.

        153.     That same day, Earley refused to return to DWSD water, according

  to the Attorney General’s investigation into the crisis.




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          154.    In addition to these events, the City conducted six (6) sampling

  events on the corrosivity of the “treated” drinking water that occurred either before

  or concurrently with the creation of reports by the Engineering Defendants. The

  sampling events were in May 2014, August 2014, October 2014, February 2015,

  May 2015, and August 2015. The sampling results all showed that the drinking

  water was very corrosive, and yet none of the reports produced by the Engineering

  Defendants mentioned these sampling results.

          E.     The LAN and Veolia Defendants Were Asked to Evaluate the
                 Problems, But Failed to Do So Properly
          155.    In November of 2014, the LAN Defendants were on actual notice of

  the need to assess the factors contributing to high TTHM levels following the

  water source change because the LAN Defendants were engaged to evaluate this

  issue by Flint and provide a report of its findings, which they did in August of

  2015.

          156.    The LAN Defendants issued a 20-page Operational Evaluation

  Report on November 26, 2014, intended to address compliance with EPA and

  MDEQ operations and regulations. The LAN Defendants entirely failed to address

  the hazard of lead associated with the corrosive water flowing through the pipes, at

  least half of which were made of lead.

          157.    The Veolia Defendants submitted to Flint their “Response to

  Invitation to Bid for Water Quality Consultant,” Proposal No. 15-573. The Veolia

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  Defendants proposed to provide “a complete solution to address the immediate

  reliability and operational needs” of Flint’s water system.

        158.    Flint had requested engineering services:

               a.    To review and evaluate “the City’s water treatment process . . .
                     and procedures to maintain and improve water quality”;

               b.    To develop and report with recommendations “to maintain
                     compliance with both State of Michigan and federal agencies”;
                     and

               c.    To assist the City in implementing the recommendations.

        159.    The Veolia Defendants, however, responded that “addressing the

  fundamental issues concerning water quality compliance and operational reliability

  is much more complex than the recommendations study and advisory services

  outlined [in City of Flint’s request].” The Veolia Defendants proposed to respond

  to Flint’s requested scope of work by:

               a.    Calibrating “daily water quality samples with the City’s
                     hydraulic model”;

               b.    Refining “the operational strategies for the plant and
                     distribution system”;

               c.    Coordinating “daily efforts across plant, operations and
                     maintenance staff”; and
               d.    Alleviating  “continued        concerns    from   the     public
                     communications process.”
        160.    In February of 2015, the Veolia Defendants were hired through a

  resolution that incorporated a standard of performance clause, which stated that



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  “the City is relying upon the professional reputation, experience, certification, and

  ability of [Veolia].”

        161.     The Veolia Defendants’ task was to review Flint’s public water

  system, including treatment processes, maintenance procedures, and actions taken.

  As water treatment professionals, the Veolia Defendants had an opportunity to

  catch what the LAN Defendants had missed or refused to warn about—corrosive

  water was being pumped through lead pipes into the homes of Flint residents

  without corrosion control.

        162.     On February 10, 2015, the Veolia Defendants and the City issued a

  joint press release to the community at large, indicating that Veolia was an “urban

  water expert” in “handling challenging river water sources” and that it would be

  evaluating all of the City’s water treatment processes.

        163.     The press release contained no limitation on the Veolia Defendants’

  scope of work.     David Gadis, the Vice President of Veolia North America’s

  Municipal & Commercial Business stated, “We understand the frustration and

  urgency in Flint[.] We are honored to support your community with our technical

  expertise so that together we can ensure water quality for the people of the city of

  Flint.” He continued, “We have extensive experience handling challenging river

  water sources, reducing leaks and contaminants and in managing discolored




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  water.” Based on these representations, the people of Flint had every reason to

  rely on the Veolia Defendants’ subsequent representations of safety.

        164.     On February 12, 2015, Rob Nicholas, Veolia’s Vice President

  stated: “We’re going to look at the numbers, we’re going to look at the plant, we’re

  going to decide how the equipment’s functioning, look at the raw water, look at the

  finished water, decide how it’s getting through the pipe to the house, and from that,

  decide how to fix each of those problems as we go forward.”

        165.     Despite its representations that it would conduct a thorough, all-

  encompassing review of the Flint Water system, it took Veolia only 6 days to issue

  an interim report on its findings, which it presented to a committee of Flint’s City

  Council on February 18, 2015. Per the interim report, the only issue not in the

  Veolia Defendants’ scope of study was “why the change from [Lake Huron water

  via the Detroit system pipeline to Flint River water] or the history of the utility.”

        166.     In the interim report, the Veolia Defendants indicated that Flint’s

  water was “in compliance with drinking water standards.” It also noted that “[s]afe

  [equals] compliance with state and federal standards and required testing.” The

  Veolia Defendants effectively declared publicly that Flint’s water was safe.

        167.     The Veolia Defendants’ interim report also noted that the

  discoloration in Flint’s water “raises questions,” but “[d]oesn’t mean the water is

  unsafe.” It noted that among the Veolia Defendants’ “next steps” were to “carry


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  out more detailed study of initial findings” and “[m]ake recommendations for

  improving water quality.”

          168.   In response to potential questions about “[m]edical problems,” the

  Veolia Defendants’ interim report dismissively claimed that “[s]ome people may

  be sensitive to any water.”

          169.   Veolia issued its final “Water Quality Report” dated March 12,

  2015.

          170.   In the final report, the Veolia Defendants noted that it had conducted

  a “160-hour assessment of the water treatment plant, distribution system, customer

  services and communication programs, and capital plans and annual budget.” The

  final report claims that “a review of water quality records for the time period under

  our study indicates compliance with State and Federal water quality regulations.”

          171.   The final report states that “the public has also expressed its

  frustration of discolored and hard water.            Those aesthetic issues have

  understandably increased the level of concern about the safety of the water. The

  review of the water quality records during the time of Veolia’s study shows the

  water to be in compliance with State and Federal regulations, and based on those

  standards, the water is considered to meet drinking water requirements.”

          172.   Specifically addressing the lack of corrosion control, the final report

  notes that “[m]any people are frustrated and naturally concerned by the


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  discoloration of the water with what primarily appears to be iron from the old

  unlined cast iron pipes. The water system could add a polyphosphate to the water

  as a way to minimize the amount of discolored water. Polyphosphate addition will

  not make discolored water issues go away. The system has been experiencing a

  tremendous number of water line breaks the last two winters. Just last week there

  were more than 14 in one day. Any break, work on broken valves or hydrant

  flushing will change the flow of water and potentially cause temporary

  discoloration.”

        173.    Therefore, in addition to missing the connection between the lack of

  corrosion control and lead contamination, the Veolia Defendants made a

  permissive “could” suggestion aimed only at reducing aesthetic deficiencies while

  suggesting that Flint’s drinking water met all applicable requirements and was safe

  to drink.

        174.    In fact, not only did the report fail to discuss lead corrosion, the use

  of polyphosphate, as suggested, only deals with iron corrosion and could worsen

  lead corrosion.

        175.    As a result of the LAN and Veolia Defendants’ actions, the residents

  of Flint, including Plaintiffs, were exposed to much greater amounts of poisonous

  water, and for a much longer time.




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        F.     The LAN and Veolia Defendants Fail to Conduct a Root Cause
               Analysis
        176.      Both the LAN and Veolia Defendants were hired to ensure Flint’s

  water system was protective of human health and compliant with federal and state

  environmental statutes. In February 2015, the LAN Defendants issued their report

  “Trihalomethane Formation Concern,” and on March 12, 2015, the Veolia

  Defendants issued their report, “Flint Michigan Water Quality Report.” Critically

  absent from both reports was a root cause analysis of why the high TTHM levels

  existed.   A root cause analysis is the standard process used by engineers to

  determine the origin, case and interrelationship of events. It is a standard practice

  used by environmental, health, safety, and infrastructure engineers whenever an

  adverse event occurs.      Understanding why an event occurred is critical to

  developing effective recommendations for dealing with an event. It is important to

  note that a root cause analysis would not have required invasive testing, just

  consideration of the facts known to date and drawing a conclusion about their

  interrelationship. Had such an analysis been done, the consultants would have

  discovered the corrosion of the pipes, and the presence of lead and legionella in the

  water system.

        177.      The causal relationship of events leading to the high TTHM levels is

  not complex science. It is widely known in the scientific community that:



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         Road salt from decades of deicing contaminates northern rivers such as
          the Flint River;

         Road salt contains chloride, which is highly corrosive to steel and lead
          pipes and that such pipes are used throughout Michigan and Flint;

         Chloride strips pipes of protective surfaces which frees legionella and
          lead;

         Urban rivers contain high levels of E. coli;

         While chlorine is effective in treating E. coli, it becomes far less effective
          when bare metal has been exposed because the chlorine preferentially
          reacts with the metal;

         The need to add excessive chlorine is indicates that bare metal has been
          exposed, and that corrosion is occurring; and

         Excessive chlorination causes high TTHM levels.

        178.    The failure of the LAN and Veolia Defendants to conduct a root

  cause analysis recognizing the corrosion’s role in Flint’s water problems is truly

  inexplicable because as detailed above all of these events had been highly

  publicized before they issued their report:

         The Flint River had been highly impacted by road salt for decades—the
          river had eight times more salt than water supplied by the DWSD;

         Lead and steel pipes are ubiquitous in the United States, Michigan and
          Flint;

         In the summer of 2014, Flint suffered one of the worst outbreaks of
          Legionnaires’ disease in U.S. history;

         On October 14, 2014, as widely reported by the press the next day, GM
          stopped using the City’s water because of corrosivity;

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         On January 9, 2015, UM Flint shut its water fountains because lead
          exceed federal standards; and

         In February 2015, if not before, lead in drinking water in other locations
          also exceed the standards.

        179.    Any of these red flags, and indeed the general knowledge in the

  scientific community, should have alerted the LAN and Veolia Defendants to the

  extensive corrosion and resultant release of lead and legionella in the City’s

  drinking water system.

        180.    For example, it should have been obvious to the LAN and Veolia

  Defendants—as professed experts on water quality and treatment issues—that a

  small river in an urban environment, such as the Flint River, would be

  contaminated by chlorides from salt used in road de-icing operations during many

  Michigan winters. Indeed, in February 2004, the MDEQ, the U.S. Geological

  Survey (“USGS”), and the City completed an assessment of the Flint River as a

  possible source of drinking water and concluded that it had a very high

  susceptibility to potential contamination sources. Moreover, a simple comparison

  of the chloride levels in the Flint River with that provided by the DWSD, Flint’s

  prior water source, should have quickly alerted LAN and Veolia to potentially

  serious corrosion issues as the Flint River contains about eight-times more chloride

  than the DWSD-supplied water. The Flint River water also had an extremely high

  chloride-to-sulfate mass ratio (“CSMR”) of 1.6. Normally, a CSMR ratio of greater

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  than 0.5 is a cause for serious concern. Had the LAN or Veolia Defendants

  investigated the chloride-to-sulfate ratio in the Flint River, as would be expected of

  an engineer of ordinary diligence, they would have immediately had reason to

  believe that Flint’s CSMR posed serious corrosion risks.

        181.     The City’s inability to effectively treat E. coli with chlorine should

  have likewise alerted the LAN and Veolia Defendants to the existence of

  corrosion. It is well established by governmental authorities and the scientific

  community that the inability to treat E. coli with chlorine is often caused by

  heavily corroded piping. According to a study published by the U.S. EPA, high E.

  coli concentrations are a product of corrosion, and the inability to treat E. coli with

  chlorine is caused by corroded pipes.          Flint’s inability to treat E. coli with

  moderate amounts of chlorine—and the resulting high TTHM concentrations—

  should have placed the LAN and Veolia Defendants on notice that Flint’s pipes

  were corroding and releasing lead and other materials into the drinking water

  supply. Moreover, the uptick in reported cases of Legionnaires’ disease, reported

  during a press conference prior to the LAN and Veolia Defendants’ retention,

  should have put both on notice that Flint’s water system exhibited signs of

  corrosion. Legionella, the bacteria that causes Legionnaires’ disease, grows on the

  film on the inside of pipes, which when stripped away by corrosion frees the

  legionella into the drinking water system. Outbreaks of Legionnaires’ disease are


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  rare unless pipes have been stripped of their bio-film by warm, corrosive water—

  which is exactly what exists in the Flint River and water supply. Yet neither the

  LAN Defendants nor the Veolia Defendants drew a connection between the

  outbreak and the cause of the outbreak. Nor for that matter, did they make any

  recommendations to treat the water to prevent or abate an outbreak.

        182.    In addition, it was also very well known in the scientific community

  that pipes, especially old municipal water service lines, contain lead and that

  corroded pipes leach lead into the drinking water supply.       “Lead has been a

  challenge and a bane for water suppliers since historical times . . . The numerous

  articles printed in leading scientific journals, in the United Kingdom and United

  States, in the late nineteenth century, documenting thousands of cases of lead

  poisoning caused by lead water pipes, have largely faded in the mist of history.

  These cases often resulted in death, paralysis, blindness, insanity, convulsions,

  miscarriages and still births.” Dr. Colin Hayes et al., Best Practice Guide on the

  Control of Lead in Drinking Water, Foreword (Dr. Colin Hayes ed. 2010). As just

  one of hundreds of examples, a summer 2010 report by the Water Research

  Foundation stated: “Lead concentrations in tap water are strongly influenced by

  distribution system water chemistry. In response to changes in water chemistry,

  high lead concentrations can also be observed in systems with no previous history

  of a lead problem . . . Solubility and dissolution rates of corrosion products are


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  affected by water chemistry parameters including pH, dissolved inorganic carbon,

  orthophosphate, and the concentration and type of disinfectant residual.” These are

  the exact conditions that existed in Flint’s water supply.

        183.     Finally, just the color of Flint’s water should have led any

  reasonable engineer to the conclusion that Flint’s pipes were dangerously corroded.

  The source of Flint’s water discoloration was rust, a product of steel and lead

  corrosion. The presence of rust in the water should have alerted LAN and Veolia

  that Flint’s water was corroding its pipes, and that there was thus a danger that lead

  was leaching into the Flint water system.

        G.     The LAN and Veolia Defendants’ Conclusions Made the Crisis
               Worse
        184.     Concern over lead concentrations in drinking water motivated the

  passage of the Lead and Copper Rule (LCR) in 1991, which requires utilities to

  implement methods to control lead corrosion if the 90th percentile of samples

  exceeds the action level of 0.015 mg/L. See 40 C.F.R. pt. 141, sub. E and I. Flint’s

  own sampling analysis indicated that its system violated the LCR standards.

  Nevertheless, the Veolia Defendants, while failing to conduct any analysis,

  knowingly made the false statement in their March 12, 2015 report that their

  “review of water quality records for the time period under our study indicates

  compliance with State and Federal water regulations.”



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        185.    Another reason for the corrosion of pipes is the drinking water’s

  acidity. It is well known that the decay of pathogens and other organic materials

  such as those found in the Flint River causes water to become more acidic.

        186.    It is also well known to water quality engineers that the addition of

  acidic water quality treatment chemicals, such as ferric chloride which is used as a

  coagulant to settle out particles at the water treatment plant, can further increase

  the water’s acidity. According to U.S. EPA, “[i]f the raw water for a utility has a

  relatively high concentration of chloride and a history of lead corrosion problems,

  coagulants that add to chloride concentration should be avoided. Also, since a

  lower pH will increase corrosion in almost all cases, a utility should consider the

  finished water pH goal before implementing enhanced coagulation.”

        187.    The Veolia Defendants should have recommended maintaining the

  drinking water’s neutral pH by adding phosphate, but instead, in direct

  contradiction of federal authorities, recommended increasing the dosage of ferric

  chloride—a very potent, corrosive acid, rather than advising that the pH of the

  water should be increased.

        188.    According to the Centers for Disease Control and Prevention:

        Chemical additives are added to water during the water treatment
        process. More than 40 chemical additives can be used to treat
        drinking water. Many of these commonly used additives are acidic,
        such as ferric chloride and aluminum sulfate, which are added to
        remove turbidity and other particulate matter. . . . These acidic water
        treatment additives can interfere with corrosion protection. . . . Lead

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        and copper are rarely detected in most drinking water supplies.
        However, these metals are a concern to consumers. Because some
        household plumbing fixtures may contain lead or copper, corrosive
        waters may leach (pick up) lead and copper from household plumbing
        pipes after entering a home. . . . The most common reason for water
        utilities to add corrosion inhibitors is to avoid lead and copper
        corrosion with older homes, and the second most common reason is to
        minimize corrosion of pipes in the distribution system. . . . The
        tendency of water to be corrosive is controlled principally by
        monitoring or adjusting the pH, buffer intensity, alkalinity, and
        concentrations of calcium, magnesium, phosphates, and silicates in
        the water.

        189.    Yet the Veolia Defendants did not recommend that the City take

  steps to institute corrosion control to prevent lead and legionella from spreading

  throughout the City’s water supply. The Veolia Defendants merely suggested the

  implementation of corrosion control (here the addition of phosphates or other

  corrosion controls) as a possible, but not wholly effective means for minimizing

  water discoloration. There was no mention of the need to add corrosion control to

  prevent the release of lead and legionella. The Veolia Defendants’ report states,

  “The water system could add a polyphosphate to the water as a way to minimize

  the amount of discolored water.” (Emphasis added). The report explains that,

  “Polyphosphate addition will not make discolored water issues go away.”

  (Emphasis added).    Thus, rather than recognizing that corrosion control was

  required to render Flint’s water system compliant with federal regulations and

  prevent catastrophic corrosion, the Veolia Defendants merely suggested adding

  phosphate to address water discoloration. Even the Veolia Defendants’ suggested

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  dosage to address discoloration, 0.5 mg/L was far too low. In February 2016, the

  City was adding four to eight times as much phosphate, 2 to 4 mg/L.

        190.      Even worse, the Veolia Defendants presented their conclusion that

  no efforts needed to be undertaken to maintain the neutrality of the water supply as

  a scientific certainty. Their March 2015 report stated that prior to arriving at their

  conclusions, the Veolia Defendants undertook “laboratory testing” and concluded

  that, “[c]urrent ferric chloride dosages are too low and dosages of 100 mg/L or

  more are recommended.”         The Veolia Defendants acknowledged that their

  recommended increase was significant: “This increase to 100 mg/L is twice what is

  currently being fed and much higher than what had previously been fed last year.”

  Instead, the Veolia Defendants should have advised that the pH of the water should

  be increased.

        191.      At the same time that the Veolia Defendants gave the unqualified

  opinion that the current dosage is “too low,” and should be doubled, the Veolia

  Defendants knew that the City had no corrosion control protocol and knew (or

  should have known) that significant corrosion was already occurring. The Veolia

  Defendants’ directive that the City double its dosage of ferric chloride was

  unqualified and in no way warned that acidic water would increase corrosion.

  Instead, it should have advised that the pH of the water should be increased.




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        192.    In   August    2015,   the    LAN    Defendants     made   the   same

  recommendation to increase the dose of ferric chloride, rather than advising that

  the pH of the water should be increased.

        193.    The LAN and Veolia Defendants should have told the City to reduce

  the concentration of ferric chloride, and that adding phosphate as a pH buffer was

  mandatory. No such recommendation was made, and as a result, the lead and

  legionella courses through the City’s water supply to this day.

        194.    A graph prepared by the Flint Water Study Group from Virginia

  Tech University shows that the pH of Flint’s water distribution system became

  more acidic after the Veolia Report was issued in March, even as the pH in the

  Flint River became less acidic:




        195.    The graph above shows that the Flint River had a harmless pH at or

  above 8.0 for all of 2015, and steadily increased after June. By comparison, the

  graph shows that the pH in Flint’s municipal water supply started dropping steadily


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  from 7.9 in March (just after the Veolia Defendants made their recommendation to

  double the ferric chloride concentration) to 7.3 in August. This difference is

  significant. pH is measured on a logarithmic scale, meaning that a pH of one

  whole number, such as 7.0 is ten times more corrosive than a pH of another whole

  number, such as 8.0. The drop in pH from 7.9 to 7.3 indicates a dramatic increase

  in the corrosivity of Flint’s water.

        196.     The graph above is punctuated with quotes from Defendants’ emails

  and other documents that illustrate the contradictory information provided by State

  officials regarding the existence of corrosion control measures and lead in Flint’s

  drinking water.

        197.     On June 24, 2015, the U.S. EPA reached a similar conclusion about

  the City’s addition of ferric chloride:

        In addition, following the switch to using the Flint River, the City of
        Flint began adding ferric chloride, a coagulant used to improve the
        removal of organic matter, as part of the strategy to reduce the TTHM
        levels. Studies have shown that an increase in the chloride-to-sulfate
        mass ratio in the water can adversely affect lead levels by increasing
        the galvanic corrosion of lead in the plumbing network.

        Memorandum, High Lead Levels in Flint, Michigan - Interim Report, from

  Miguel A. Del Toral, Regulations Manager, Ground Water and Drinking Water

  Branch, to Thomas Poy, Chief Ground Water and Drinking Water Branch (June

  24, 2015) (hereinafter “Del Toral Report”) (emphasis added).



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        198.     In December 2016, Dr. Susan Masten, American Water Works

  Journal, published “Flint Water Crisis: What happened and Why?” Dr. Masten

  conducted a detailed analysis of the chemistry and engineering behind what

  happened to Flint’s water and examined why the water was corrosive. Dr. Maston

  concluded that the ferric chloride caused chloride (i.e., salt) levels in the drinking

  water to be 28-100% higher than Flint River water. Based on these results, it is

  apparent that the LAN and Veolia Defendants should have advised the City to

  reduce the levels of ferric chloride, which neither firm did.

        199.     Both the LAN and Veolia Defendants analyzed the pH in Flint’s

  water. Both made recommendations about the addition of chemicals that affect

  pH.   Both were reckless and negligent in their analysis of the pH and their

  recommendations.      Had the City started adding polyphosphate or otherwise

  controlled for corrosion, or decreased the dosage of ferric chloride, less lead and

  legionella would have been released into Flint’s water supply.

        H.     Despite the Numerous Signs of the Growing Crisis, the
               Government Defendants Failed to Act, and Concealed Known
               Dangers From the Plaintiffs
        200.     In January 2015, State officials met to discuss the ongoing threat to

  public health posed by the legionella bacteria in the Flint River water.          The

  Governor and his staff, the Genesee Co. Health Department, and the MDHHS

  had already been aware for at least three months of the ongoing public health threat


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  to the people of Flint, including the threat of Legionnaires’ disease resulting from

  the use of the Flint River water, yet they had done nothing. The public health

  crisis was not addressed in any serious and/or non-frivolous way.

        201.    On January 13, 2015, Earley resigned his position as Emergency

  Manager and the Governor replaced him with Gerald Ambrose.

        202.    On January 21, 2105, State officials ordered water coolers to be

  installed in State buildings operating in Flint. State officials were concerned

  that this action, if it became widely known by the public, would reveal their

  dishonesty because they had been advising the residents of Flint that it was

  safe to drink the tap water and at the same time arranging for alternative water

  sources for the State employees who were working in Flint.

        203.    Nick Lyon, the director of the MDHHS, received materials on or

  about January 28, 2015 from a departmental epidemiologist showing an outbreak

  of Legionnaires’ disease in Genesee County in 2014.

        204.    On January 27, 2015, Flint was placed on notice that the Genesee

  County Health Department (“GCHD”) believed there was an association between

  the spike in Legionnaires’ disease reports and the onset of the use of Flint River

  water. Again, Defendants did nothing about the impending health catastrophe.

        205.    By January 29, 2015, State officials understood that the public

  health crisis was caused by the corrosion of the entire infrastructure of the Flint


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  water system. Yet no action was taken to warn the public of the health crisis or

  to correct the harm caused by the State’s decision to switch from DWSD water

  to Flint River water.

        206.    On January 29, 2015, Sue McCormick, the Director of DWSD,

  offered Ambrose an opportunity to purchase DWSD water at attractive rates.

  DSWD’s proposal included waiving the re-connection fee. This offer was rejected

  by Ambrose.

        207.    In January 2015, a Flint home owner, LeeAnn Walters, called the

  EPA regarding water issues that she was experiencing at her Flint home. She

  informed the EPA that she and her family members were becoming physically ill

  from exposure to the Flint River water coming from her tap.

        208.    By the end of January 2015, the Governor’s office was fully aware

  of the public health emergency caused by the rise in legionella bacteria found in

  the Flint River and launched a cover-up of the public health crisis.

        209.    By February 1, 2015, the Governor was aware of the health crisis

  in Flint. Given the months of complaints from Flint water users that the water

  was discolored, foul smelling/tasting, and making them visibly sick, the

  Governor knew that there was an imminent threat to the people of Flint. Yet,

  neither the Governor, nor State and local public officials, took corrective

  action.


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        210.    On    February 17, 2015, Flint        water users staged public

  demonstrations demanding that Flint re-connect with DWSD.             Once again

  Ambrose refused to restore Detroit water for Flint water users. State and local

  public officials falsely insisted that the water was acceptable for use and took no

  action.

        211.    On February 26, 2015, Jennifer Crooks of the EPA wrote an email

  to MDEQ and EPA representatives. Crooks noted that Walters complained of

  “black sediment in her water.” She noted that the iron contamination was so high

  that the testing instrumentation could not measure it. Crooks wrote, “But, because

  the iron levels were so high [Michael Glasgow, Flint Utilities Administrator],

  suggested testing for lead and copper. WOW!!!! Did he find the LEAD! 104 ppb.

  She has 2 children under the age of 3….Big worries here….I think Lead is a good

  indication that other contaminants are also present in the tap water that obviously

  were not present in the compliance samples taken at the plant…We also talked

  about Dr. Joan Rose from Michigan State being on the Flint Tech Advisory

  committee--would want to dive further into this…she and her family are also

  exhibiting the rashes when exposed to the water, and her daughter’s hair is falling

  out in clumps.”

        212.    In a second email on February 26, 2015, Crooks stated that Miguel

  Del Toral of the EPA is of the opinion that the “black sediment” in the Walters


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  water was actually lead. She continued, “Miguel is wondering if Flint is feeding

  Phosphates.    Flint must have Optimal Corrosion Control Treatment-is it

  phosphates? From a public health perspective, can we assume that the high lead

  levels in Mrs. Walters’ neighborhood are isolated to just her area? Or are they

  more widespread?”

        213.    On February 27, 2015, Stephen Busch advised Del Toral that the

  City was using corrosion control. This statement was false and Busch knew it was

  false when he made this statement to the EPA.

        214.    Defendant Cook similarly misled the EPA regarding the necessity of

  using corrosion control in Flint after the switch when he allegedly forwarded

  information he knew to be false to the EPA in response to its inquiry.

        215.    Likewise, Defendant Johnson inhibited efforts by Genessee County

  Health Department (“GCHD”) to obtain information about Flint’s water through

  the Freedom of Information Act (“FOIA”). On January 27, 2015, James Henry,

  Environmental Health Supervisor at the GCHD, sent a FOIA request to the City of

  Flint requesting “testing locations and laboratory results within the City of Flint

  public water system for Coliform, E-Coli, Heterotrophic Bacteria and

  Trihalomethanes from January 1, 2010 to January 27, 2015. . . [and] a map or list

  of locations, detailing dead ends, pooling, [and] low pressure . . . areas.” A week

  later, on February 5, 2015, Flint Utilities Administrator Johnson responded that he


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  had not received Mr. Henry’s FOIA request but would “fulfill [the] request as soon

  as possible.” Despite Johnson’s assurances, by March 2015, GCHD still had not

  received the information they requested by FOIA.

        216.    On March 5, 2015, the Governor and officials in the Governor’s

  office realized that they had a massive public health emergency which

  probably included widespread lead poisoning on their hands and began

  discussing distributing water filters to Flint water users.     Yet these public

  officials took no action to warn or otherwise protect Plaintiffs and the Class,

  and continued to conceal from them and the public the true nature, extent, and

  severity of the public health crisis.

        217.     By March 10, 2015, James Henry of the GCHD raised concerns

  that he was being stonewalled by the State and City in accessing public health

  information about the Legionnaires’ disease outbreak in Genesee County. The

  concealment of the public health emergency by City and State officials—

  Defendants herein—was shocking and unconscionable.

        218.    As of March 10, 2015, the Defendants knew that the extreme

  public health emergency involved lead poisoning, deadly legionella bacteria

  and a host of other ailments.

        219.    Indeed, Defendant Shekter-Smith acknowledged as much on

  March 12, 2015 when, in connection with a FOIA request from the Genesee


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  County Health Department regarding the outbreak of legionella, she emailed

  MDEQ employees Brad Wurfel, Jim Sygo, and Sarah Howes that “[w]hile the

  change in source may have created water quality conditions that could provide

  additional organic nutrient source to support legionella growth, there is no

  evidence or confirmation of legionella coming directly from the Water Treatment

  Plant or in the community water supply distribution system at this time” (emphasis

  added).

         220.     Despite acknowledging internally that the switch could have

  caused the legionella outbreak, the very next day, on March 13, 2015, Shekter-

  Smith approved and praised Stephen Busch on his on his response to the

  Genesee County Health Department wherein Defendant Busch stated, among other

  things, that:

            a. “conclusions that legionella is coming from the public water system
               without the presentations of any substantiating evidence from your
               epidemiologic investigations appears premature and prejudice toward
               that end;

            b. “[i]t is highly unlikely that legionella would be present in treated
               water coming from the City of Flint water treatment plan given the
               treatment plant’s use of ozone along with complete treatment and
               chlorine disinfect contact time to comply with federal surface water
               treatment rules for potable water;” and

            c. “there is no direct correlation that can be made to the presence of
               legionella.”




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         221.    That same day, Wurfel wrote in an email to Snyder administration

  officials, “Political flank cover out of the City of Flint today regarding the spike in

  Legionnaire cases. . . . Also, area ministers put a shot over the bow last night …

  with a call for Snyder to declare a state of emergency there and somehow ‘fix’ the

  water situation …”

         222.    On March 25, 2015, Flint City Council voted to re-connect to

  Detroit’s water system.      Governor Snyder’s appointed Emergency Manager,

  Gerald Ambrose, exacerbated the State-created danger by rejecting this vote of the

  Flint public officials.

         223.    In March 2015, Jarrod Agen, Governor Snyder’s Director of

  Communications and later Chief of Staff, participated in conference calls with

  Harvey Hollins, an aide to the Governor, and others in which Hollins stated that he

  was hearing from Flint-area pastors that people were complaining about the odor

  and the look of the water and that they had requested water filters.

         224.    On April 24, 2015, Patrick Cook of the MDEQ emailed Miguel Del

  Toral at the U. S. EPA and in referring to Flint’s Water Treatment Plant (“WTP”)

  stated: “Flint is currently not practicing corrosion control at the WTP.”

         225.    On June 24, 2015, the aforementioned Del Toral Report warned of

  “High Lead Levels in Flint Michigan.” On the following day, Del Toral wrote an

  internal email with respect to the elevated lead in Flint water at EPA stating:


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        I understand that this is not a comfortable situation, but the State is
        complicit in this and the public has a right to know what they are
        doing because it is their children that are being harmed.

        226.    Del Toral further warned that the failure to inform Flint water users

  of the elevated lead levels was “bordering on criminal neglect.”

        227.    The Del Toral Report was shared with, among others, MDEQ’s

  Chief of Office of Drinking Water and Municipal Assistance, Liane Shekter-Smith,

  MDEQ’s Water Treatment Specialist, Patrick Cook, MDEQ’s District Supervisor,

  Stephen Busch, and MDEQ’s Engineer assigned to District 11 (Genesee County),

  and Michael Prysby.

        228.    Nonetheless, State and local public officials failed to undertake any

  measures to effectively address any of the dangers, including lead poisoning,

  identified by Del Toral.

        229.    On June 30, 2015, Mayor Walling notified EPA Region 5 Director,

  Dr. Susan Hedman (“Hedman”) that Del Toral was speaking publicly about the

  Flint environmental crisis.

        230.    On July 2, 2015, Hedman advised Walling that he was given a

  preliminary draft and that it would be premature to draw any conclusions.

        231.    On July 10, 2015, MDEQ official Brad Wurfel, in an effort to

  conceal the public health crisis, appeared on public radio and advised listeners that

  Flint water was safe and that it was not causing “any broad problem” with lead


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  leaching into residential water. Parents, worried about the lead poisoning of their

  children demanded answers from Wurfel. He told the concerned parents, “[l]et me

  start here-anyone who is concerned about lead in the drinking water can relax.”

  Wurfel, at the time he made this statement, knew his statements were false and he

  deliberately misled the public about the seriousness of the crisis.

         232.     By July 2015, multiple agencies within the State of Michigan,

  including the Governor, the Governor’s Office and MDEQ, had actual notice of

  high lead exposure and other dangers, including Legionnaires’ disease, associated

  with Flint water.

         233.     But there is no doubt that the Government Defendants were well

  aware of the dangers facing Flint’s residents. On July 9, 2015—nearly three

  months before the City first issued a lead advisory to the public—Mike Glasgow

  sent an email to MDEQ’s Adam Rosenthal with the following “Key Points” listed

  in all caps:

                 1) Flint has lots of lead pipe, no corrosion control treatment, and has
                 had no legitimate LCR testing for at least a year.

                 2) Amongst low income infants, breast feeding rates are lower, and
                 formula use is higher. Many Flint[] residents cannot afford to flush
                 due to higher water rates. They cannot afford bottled water. This is an
                 unprecedented situation and EPA needs to take this seriously. Now.

                 3) We have one child with an elevated blood lead already…In fact,
                 that is the only reason we know about any of the above.

                 4) MDEQ is still publicly insisting Flint water has tested safe, is safe,
                 and that flint has no violations of any sort.
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        234.     On July 22, 2015, Governor Snyder’s Chief of Staff, Dennis

  Muchmore, wrote to MDHHS Director Lyon and stated that the Plaintiffs’

  concerns (and those of the Class) regarding lead poisoning and other dangers were

  being “blown off” by the Defendants.

        235.     On July 24, 2015, Wurfel continued to promote the cover-up of the

  health crisis. In response to the recognition that the Defendants were blatantly

  ignoring the concerns of Flint residents, he stated, “[i]n terms of near-future issues,

  the bottom line is that residents of Flint do not need to worry about lead in their

  water supply, and DEQ’s recent sampling does not indicate an imminent health

  threat from lead or copper.”

        236.     But the State’s sampling did not comply with regulations. Rather,

  the sampling purposefully skewed results to minimize the crisis. According to an

  email from Professor Marc Edwards of Virginia Tech that was forwarded to

  Shekter-Smith and Stephen Busch, among others, on September 21, 2015, the State

  did, “not have an approved lead sampling pool. Only 13 of the lowest lead

  sampled homes from 2014, were resampled in 2015. The homes sampling high in

  2014, were not asked to be resampled.”          Professor Edwards continues on to

  describe a video available on the ACLU website in which, “Mike Glasgow (Flint

  LCR program) notes what is perfectly obvious from looking at the MDEQ FOIA

  materials. ‘we threw out bottles everywhere just to collect as many as we can, just


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  to hit our number, and we just turn in every result we get in.’” Professor Edwards

  then proceeds to note several instances in which the MDEQ covered up high

  samples.

        237.    Indeed Michael Glasgow essentially admitted that the City’s testing

  procedures were inadequate when he pleaded no contest to willful neglect of duty

  and agreed to cooperate with the Attorney General’s investigation after being

  accused of distorting the City’s water test results by instructing residents to run

  their water—or “flush” it—before testing, and failing to obtain water from certain

  houses. These inaccurate results were reported in a February 27, 2015 report

  entitled, Lead and Copper Report and Consumer Notice of Lead Result.”

        238.    Several MDEQ officials—including Defendants Busch, Rosenthal,

  and Prysby—similarly deceived the public about the water’s quality. Glasgow has

  stated publicly that Defendants Busch and Prysby directed him to alter water

  quality reports and remove the highest lead levels. And following an investigation

  involving numerous witness interviews and reviewing thousands of documents, the

  Michigan Attorney General’s office charged both Busch and Prysby for their

  involvement in the crisis. The Attorney General’s investigation similarly led to

  criminal charges against Rosenthal, including for his willful participation in the

  manipulation of lead testing results and falsely reported that the 90th percentile of

  the results for lead water testing was below the federal action level. Eventually, a


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  July 28, 2015 report was altered to exclude some high lead tests and Rosenthal

  forwarded the altered report on.

        239.     After months of trying to notify City and State officials of the

  problems with Flint’s water, in August 2015, Professor Edwards publicly

  announced that there was serious lead contamination of the Flint water system and

  stated that the people of Flint face a major public health emergency.

        240.     Wurfel, speaking for the State,           immediately dismissed and

  discredited Edwards by stating that Edwards’s team “only just arrived in town

  and (have) quickly proven the theory they set out to prove, and while the state

  appreciates academic participation in this discussion, offering broad, dire public

  health advice based on some quick testing could be seen as fanning political

  flames irresponsibly.”

        241.     By late 2014 or early 2015, Lyon was aware from MDHHS data that

  there was a dramatic increase in the percentage of Flint children with elevated

  blood lead level readings from blood drawn during the second and third quarters of

  2014, and that Legionnaires’ disease was on the rise during the same period of

  time. Lyon was aware of this dangerous condition but did nothing to report the

  findings to the Plaintiffs, their Class or the public.

        242.     Lyon knew that these elevated blood lead levels, and an increase of

  Legionnaires’ disease found in its own database, correlated with the introduction of


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  the corrosive Flint River water into the Flint water distribution system. Lyon did

  not order that any action be taken to warn the public.

        243.    The increase in elevated blood lead levels in Flint’s children, and

  Lyon’s failure to do anything to prevent further injury to the people of Flint,

  identifies yet another aspect of this unconscionable government-created health and

  public safety emergency. Lyon, aware of the elevated blood lead levels in Flint’s

  children, failed to report the evidence to the MDEQ, Governor’s Office, EPA or

  the Flint community. His concealment of this critical information increased the

  risk and exacerbated the danger.

        244.    Dr. Mona Hanna-Attisha, in the summer of 2015, using data

  available to her from Hurley Hospital, observed a similar spike in the percentage of

  Flint children with elevated blood lead levels from blood drawn in the second and

  third quarter of 2014. She published her study in an effort to alert the community

  about the health risks associated with drinking Flint River water.

        245.    The Government Defendants and the MDHHS immediately accused

  Dr. Hanna-Attisha of providing false information to the public.

        246.    No genuine effort was made to investigate Dr. Hanna-Attisha’s

  findings. To the contrary, on September 28, 2015, in response to Dr. Hanna-

  Attisha’s testing results, Defendant Lyon directed his staff to provide “an analysis

  of the Vtech/Hurley data and their conclusions,” in addition to demanding a


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  “strong statement with a demonstration of proof that the lead blood levels seen are

  not of the ordinary and are attributable to seasonal fluctuations.”

          247.   In September 2015, the MDEQ continued to falsely assure the public

  that use of Flint Water was safe and continued to deny the public health crisis at

  hand.      For example, a MDEQ document entitled, “DEQ Frequently Asked

  Questions, Water Lead Levels in the City of Flint, September, 2015” which stated:

  “Are there other ways the city monitors for lead exposure? The County Health

  Departments, overseen statewide by the Michigan Department of Health and

  Human Services, regularly monitors blood levels in children throughout Michigan

  communities. The leading cause of lead poisoning is exposure to lead paint.

  Blood lead level testing results for the 12-month period just after the City of Flint

  changed its water source (May 2014 – April 2015) showed no significant change in

  the pattern of blood lead levels in Flint, compared to the previous three years. This

  data suggests the recent change in water source by the City of Flint has not

  contributed to an increase in lead exposure throughout the community.”

  (emphasis added).

          248.   On September 25, 2015, Wurfel falsely advised media and the

  public that MDHHS officials have re-examined its blood lead level data and the

  MDHHS statistics do not show the same upward trend documented by Dr. Hanna-

  Attisha.


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        249.     On September 28, 2015, Wurfel stated publically that the Flint water

  crisis was becoming “near-hysteria” because of Dr. Hanna-Attisha’s report. He

  said that he wouldn’t call her reports “irresponsible. I would call them

  unfortunate.” Wurfel finished his remarks that day by falsely stating that “Flint’s

  drinking water is safe in that it’s meeting state and federal standards.”

        250.     On September 29, 2015, Wurfel referred to EPA Del Toral of the

  EPA as a “rogue employee.”

        251.     By late September 2015, reconnecting to the Detroit water system

  was the only reasonable option to protect the health and safety of the Flint water

  users. Yet the State deliberately chose not to proceed in this fashion. Instead, on or

  about October 2, 2015, State officials announced that the State would appoint a

  Flint Water Advisory Task Force and would provide water filters designed to

  eliminate the lead in the water to Flint water users.

        252.     On October 8, 2015, the Governor recognized that he could no

  longer pretend that the water from the Flint River was safe. He finally ordered

  Flint to re-connect with the Detroit water system which contained corrosion control

  chemicals.

        253.     The re-connect to DWSD took place on or about October 16, 2015.




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           254.   Throughout the period of time between April 2014 (when Flint’s

  water source changed to the Flint River) through October 16, 2015 (when Flint’s

  water source switched back to the DWSD) MDEQ officials either:

                  a.   Falsely represented that Flint was using optimized corrosion
                       control chemicals to treat the water for purposes of preventing
                       lead poisoning, when in fact, they were not; or

                  b.   Adhered to the faulty regulatory position that Flint could
                       poison its citizens with lead contaminated water for two six-
                       month monitoring intervals and then decide if corrosion
                       control chemicals were necessary.
           255.   On October 18, 2015, MDEQ Director Wyant emailed Governor

  Snyder and admitted that the delayed implementation of optimized corrosion

  control for two six month intervals while Flint’s citizens were being lead poisoned

  was improper. Wyant wrote:

           Simply said, our staff believed that they were constrained by two
           consecutive six-month tests. We followed and defended that protocol. I
           believe now we made a mistake. For communities with a population
           above 50,000, optimized corrosion control should have been required
           from the beginning. (emphasis added)

           256.   The next day, on October 19, 2015, City of Flint Technical Advisory

  Committee meeting, LAN was listed as the “owner” of the “corrosion control”

  issue.

           257.   Starting in approximately November of 2015, the State of Michigan

  Department of Health and Human Services began publicly reporting blood lead

  level test results for “Flint Zip Codes 48501-48507.”     However, the use of zip

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  code level data for these reports is misleading and significantly underreports the

  prevalence of lead contamination in blood for Flint residents. Academics studying

  the data have noted that the zip codes relied upon by MDHHS (48501-48507)

  include both people who receive their water from the City of Flint and large

  geographic areas outside of the City of Flint where people receive their water from

  safe sources. In spite of these noted inaccuracies in the data, MDHHS officials

  (and their attorneys in court) continue to misleadingly rely upon this inaccurate

  data to downplay the severity of the crisis.

        258.     Flint is currently in a State of Emergency: Mayor Karen Weaver

  declared a State of Emergency on December 14, 2015. On January 4, 2016, the

  Genesee County Commissioners declared a State of Emergency. On January 5,

  2016, Governor Snyder declared a State of Emergency. On January 13, 2016, the

  Governor activated the Michigan National Guard to assist the people of Flint. On

  January 14, 2016, the Governor asked then-President Barack Obama and the

  Department of Homeland Security, Federal Emergency Management Agency

  (“FEMA”) to declare Flint a Major Disaster. On January 16, 2016, FEMA issued

  an emergency declaration to assist the people of Flint.

        259.     Yet, the efforts to conceal the full truth of what happen continue.

  For example, on January 11, 2016, during a conversation with Eden Wells,




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  Governor Snyder, and others, Lyon acknowledged that there was a Legionnaires’

  outbreak but falsely claimed that it was limited to one healthcare institution.

        260.     The relief efforts of State public officials have been ineffective,

  indeed often frivolous, in mitigating the devastation caused by its creation of the

  public health crisis. The ineffective relief efforts have prolonged the dangerous

  conditions and, in many cases, the failed mitigation efforts have further

  exacerbated the effects of the public health calamity created by the State.

        261.     Moreover, the reaction of many of the Defendants to this wholly

  preventable crisis has been cold to say the least. For example, when Wurfel was

  forwarded a response from Bob Wheaton (Manager of Communications for

  MDHHS), in which ABC News asked about Head start programs giving bottled

  water to children in Flint after a DHS report talked about the risks of lead.

  Wheaton had responded to ABC News saying that the bottled water report “was a

  recommendation – not an order.” Wurfel forwarded it to his wife and David

  Murray, saying only: “Laughing so hard I’m crying right now.”

        262.     Likewise, rather than immediately providing real information to

  Flint residents facing this crisis, the State promoted the following poster (which it

  later took down) which minimizes the serious health risks associated with

  contaminated water:




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        I.     Defendants’ Misconduct Has Caused the Plaintiffs to Suffer
               Devastating Health Effects and Other Personal Injuries
        263.    As a result of the failure to properly treat water from the Flint River,

  corrosive water was delivered throughout the Flint Water System. The water

  predictably corroded metal pipes, causing them to leach lead into the water. An

  estimated 15,000 of Flint’s 30,000 residential service lines are composed at least

  partially of lead. The exact number is presently unknown.

        264.    Lead’s catastrophic effects are indisputable. According to the EPA,

  “[y]oung children, infants, and fetuses are particularly vulnerable to lead because

  the physical and behavioral effects of lead occur at lower exposure levels in

  children than in adults. A dose of lead that would have little effect on an adult can

  have a significant effect on a child. In children, low levels of exposure have been


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  linked to damage to the central and peripheral nervous system, learning disabilities,

  shorter stature, impaired hearing, and impaired formation and function of blood

  cells.”

            265.   According to the World Health Organization, “lead affects

  children’s brain development resulting in reduced intelligence quotient (IQ),

  behavioral changes such as shortening of attention span and increased antisocial

  behavior, and reduced educational attainment. Lead exposure also causes anemia,

  hypertension, renal impairment, immunotoxicity and toxicity to the reproductive

  organs.      The neurological and behavioral effects of lead are believed to be

  irreversible.”

            266.   Lead is so harmful that, according to the EPA, “ingestion of lead can

  cause seizures, coma and even death.”

            267.   The effects of lead exposure are long lasting.        The EPA has

  explained that, “[l]ead can accumulate in our bodies over time, where it is stored in

  bones along with calcium. During pregnancy, lead is released from bones as

  maternal calcium and is used to help from the bones of the fetus. Lead can also

  cross the placental barrier exposing the fetus to lead. This can result in serious

  effects to the mother and her developing fetus, including: reduced growth of the

  fetus [and] premature birth.”




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        268.     Tragically, the damage from lead exposure to Flint’s children

  includes diminished potential over the entire course of their lives. The World

  Health Organization states, “[t]hese costs are sometimes referred to as lost

  opportunity costs. Using a conservative estimate, the decrease in intelligence

  attractable to each 1 µg/dl increase in blood lead level is 0.25 IQ points, and the

  decrement in lifetime economic productivity associated with lost IQ point is 2.4%.

  When exposure to lead is widespread in a society, the aggregate loss of intelligence

  (and thus economic productivity) can be substantial.”

        269.     Notably, this estimate is conservative as it relates solely to lost

  earning potential and does not include costs related to special educational, medical,

  sociological, disability and occupational services, or long-term monitoring and

  treatment costs.

        270.     According to an analysis of the economic losses attributable to lead

  exposure in 2009, “[t]he present value of Michigan’s economic losses attributable

  to lead exposure in the 2009 cohort of 5 year-olds ranges from $3.19 billion (using

  U.S. blood lead levels) to $4.85 billion (using Michigan blood lead levels) per year

  in loss of future lifetime earnings.”

        271.     Other researchers have estimated the economic impact of childhood

  lead poisoning to be as high as $50.9 billion per year in lost economic productivity




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  resulting from reduced cognitive potential from preventable childhood lead

  exposure.

        272.     As a direct and proximate result of Defendants’ misconduct, Flint’s

  children have suffered specific, measurable damages in the form of lost earning

  potential.   They have also incurred damages in the form of required special

  educational, medical, sociological, occupational and disability services, and related

  education assistance programs.

        273.     Lead is also harmful to adults.      The EPA warns that “[a]dults

  exposed to lead can suffer from: Cardiovascular effects, increased blood pressure

  and incidence of hypertension, [d]ecreased kidney function, [and] [r]eproductive

  problems (in both men and women).” The World Health Organization explains

  that the direct medical costs of lead exposure include treatment for acute lead

  poisoning—typically chelation therapy—as well as the treatment of cardiovascular

  disease in adults who develop hypertension following lead exposure.

        274.     These effects are far from hypothetical. According to a recent study

  from health economists Daniel Grossman of West Virginia University and David

  Slusky of Kansas University, the fertility rate in Flint, Mich., dropped precipitously

  after the city decided to switch to lead-poisoned Flint River water in 2014.

  Grossman and Slusky’s working paper estimates that among the babies conceived




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   from November 2013 through March 2015, “between 198 and 276 more children

   would have been born had Flint not enacted the switch in water.”

         275.    Given the long-lasting risks of lead exposure and the potential for

   lead sediment to be disturbed and re-mobilized into the water system, Plaintiffs

   will require regular medical and tap water testing and evaluation, at bare minimum,

   in accordance with government standards.

         276.    Additionally, as described more fully above, the water crisis in Flint

   caused an outbreak of Legionnaires’ disease. As explained above, the presence of

   legionella was a direct and proximate result of the switch to the Flint River as a

   water source and related conduct. At least 87 members of the Class contracted

   Legionnaires’ disease and at least nine died. Those members of the Class who

   became infected with Legionnaires’ disease suffered death, and for those who

   lived, incurred pain and suffering as well as substantial medical costs due to

   Defendants’ conduct. At least one case of Legionnaires’ Disease occurred in 2016,

   even after the City’s water supply was switched back to the DWDS, indicated that

   the disease still poses a risk to the community.

         277.    In October 2016, Flint and Michigan authorities determined that

   Flint was experiencing an outbreak of the infectious bacterial disease

   called Shigellosis, which can cause bloody diarrhea and fever.       Shigellosis is

   caused by the shigella bacteria, and its symptoms include fever, abdominal pain


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   and diarrhea, which can lead to dehydration. Since the water crisis, there has been

   a steady increase of cases, especially in children. The youngest person diagnosed

   was 17 months old.

         278.     Finally, as a direct and proximate result of Defendants’ conduct,

   Plaintiffs have suffered extreme emotional distress.

         J.      Defendants’ Misconduct Has Also Caused the Plaintiffs to Suffer
                 Extensive Property Damage and Monetary Losses.
         279.     In addition to the devastating health effects and lost economic

   productivity caused by lead exposure, Defendants’ misconduct has caused

   significant property damage and monetary losses.

         280.     The property damages sustained by Plaintiffs fall into three basic

   categories. First, the Plaintiffs’ pipes and appliances themselves have corroded,

   shortening their life span, and causing further damage when they break. Second,

   the corroded pipes and appliances remain a continuing source of lead and

   potentially legionella—thus, pipes and appliances must be replaced or else remain

   a continuing source of harmful exposure. Finally, the value of Plaintiffs’ real

   property has been substantially diminished as a result of the continuing

   questionable safety of Flint’s water and existence of corroded pipes and

   appliances.

         281.     Although the City has begun adding polyphosphate to its system to

   reduce the leaching of lead from its service lines, this is unlikely to render Flint’s

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   water safe because many of the pipes have become so corroded that not even

   phosphate will be able to fully encapsulate the surface of the pipes and prevent

   lead from leaching into the water supply.

         282.    Plaintiffs’ homes and properties have been affected in the same

   fashion. Even with the addition of phosphate, their pipes and appliances will

   remain corroded until replaced, and continue to be a source of lead and potentially

   legionella. Solubilized and particulate lead and legionella remain in portions of

   the piping system and appliances, and can become remobilized at any time,

   causing further damage and health effects.

         283.    The effect of corrosive water on residential and commercial piping

   and appliances is well understood. For example, a 2014 study by the Water

   Research Watershed Center stated: “[w]ith respect to the corrosion potential of

   YOUR drinking water, the primary concerns include the potential presence of

   TOXIC Metals, such as lead and copper; deterioration and damage to the

   household plumbing, and aesthetic problems such as: stained laundry, bitter taste,

   and greenish-blue stains around basins and drains.”

         284.    The Water Research Watershed Center has further explained that,

   “[t]he cost of corrosion can be expensive. Corrosion can impact you and your

   family’s health, aesthetic quality of your water, waste money, and damage your

   household piping and fixtures.”


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         285.    Not only does corrosion cause the “premature failure of household

   plumbing and plumbing fixtures,” the Water Research Watershed Center has

   explained, corrosion also “decreases the efficiency of hot water heaters and may

   cause premature failure to the heater.”

         286.    On January 10, 2017, Marc Edwards, the principal scientist who

   discovered the high lead concentration in Flint water, published “Flint Water

   Crisis Caused By Interrupted Corrosion Control: Investigating “Ground Zero

   Home” in which he concluded that the lead in the homes originated in part from

   rust stripped by the corrosive water from galvanized pipes. Galvanized pipes are

   in people’s homes. Although galvanized (zinc-coated) pipe is still considered to be

   a safe transport material for drinking water, there are some potential health

   concerns if the water supply is corrosive due to its acidic condition (low pH).

   These results establish that the pipes in the pipes and appliances in Flint homes and

   businesses need to be replaced.

         287.    Moreover, residents and property owners have already reported

   damage to major appliances such as dishwashers and washing machines following

   Flint’s decision to switch water sources.

         288.    According to emails from Governor Snyder’s office, the State

   estimates that replacing Residents’ pipes alone could cost between $6,000 and

   $8,000 per household. Other estimates of those replacement costs are far higher.


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   Obviously, the cost to replace pipes in a residential building with multiple units

   will be far higher, costing tens and hundreds of thousands of dollars.

         289.    Corroded pipes not only present a continuing health threat, they risk

   further damage to one’s property because corrosion can result in deep pits in the

   pipe or tank walls that can eventually break, causing substantial water damage to

   homes and businesses.

         290.    Although the City has stated it intends to begin replacing some City-

   owned pipes, this is far from sufficient to render Flint’s water safe.       Sergio

   Kapusta, a fellow at NACE International, an industry organization that develops

   corrosion prevention and control standards in Houston, has explained that

   “changing all the mains in the city will not really solve the problem for the

   homeowners” because the lead piping in these homes probably has been severely

   compromised. “The corrosion is not going away. It’s still there.”

         291.    Plaintiffs have been left to pay for the damage caused by the

   Engineering and Governmental Defendants. This has proven nearly impossible as

   many of the City’s residents survive on very little money. To make matters worse,

   the Washington Post has reported that, “many in Flint say banks are refusing to

   offer refinancing that could free up money to pay for the retrofitting, and that the

   costs are not covered by insurance. The crisis has created a perfect storm to strip

   their houses of their remaining value, they say.”


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         292.    According to a study by University of Michigan that analyzed

   the cross-section samples of 10 service pipes in Flint’s water system, the average

   Flint pipe released 18 grams of lead during the 17 months that untreated, corrosive

   water ran through the system. “This is the amount of lead that would have entered

   a single home,” lead study author Terese Olson, an associate professor of civil and

   environmental engineering at Michigan, said in a news release. “If we average that

   release over the entire period the city received Flint River water, it would suggest

   that on average, the lead concentration would be at least twice the EPA action level

   of 15 parts per billion.” Critically, however, the report also concluded that not all

   of the leached lead was consumed by drinkers. Some was washed down the drains

   and some likely remains in private plumbing systems.

         293.    Moreover, the problems associated with Flint’s water have had and

   are having a significant impact on residential and commercial property values and

   rental rates in the City. As Daniel Jacobs, an executive with Michigan Mutual

   explained, “[t]he tragedy is an already depressed community is now likely to see

   housing values plummet not only because of the hazardous water, but because

   folks cannot obtain financing.”

         294.    Certain banks and mortgage companies have refused to make loans,

   unless the borrower establishes that its water is potable. A Wells Fargo & Co.

   spokeswoman said it is reviewing government lending guidelines: “[u]ntil [water]


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   testing and potability is affirmed, it will be difficult to lend,” said the

   spokeswoman, who said such difficulties would apply to all lenders.

   Representatives from Bank of America and J.P. Morgan similarly have

   acknowledged requiring verification of potable water to provide financing to Flint

   residents.   Lenders claim their hands are tied.       As the Federal Housing

   Administration, which backs loans to less-creditworthy borrowers, explained,

   government regulations require “a continuing and sufficient supply of safe and

   potable water” to provide home financing.

         295.    This creates a catch-22. Despite having switched back to receiving

   its water from DWSD, the current extent of corrosion in Flint renders the water

   unsafe because the pipes and appliances will remain corroded and sources of lead

   until they are replaced.   However, Plaintiffs, including residents and property

   owners, cannot obtain financing to replace their pipes and appliances until the

   water is deemed safe.

         296.    The water crisis also caused extensive economic damage to property

   owners who paid water bills for several years in exchange for clean water for

   themselves and their tenants. Instead, they were provided toxic water. Besides

   losing the benefit of the bargain, this also hurt the landlords’ relationship and

   goodwill with tenants, both real and financial.




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         297.     As a result of the water crisis, many tenants refused to pay rent or

   simply left the premises. Some tenants paid less than the full rent amount. And it

   is difficult to find new tenants to rent units. Even if found, the rental value is now

   much lower. Landlords in the Class have been forced to offer lower rent to entice

   renters. This results in lower revenue. As a result, the Class has experienced a

   lower occupancy level than before the water crisis and receives lower revenue.

         298.     The ordeal also damaged property owners because the crisis caused

   property values to plummet. Moreover, it is difficult to sell property, even at

   severely depressed prices, because buyers are scared of investing in the area. Even

   if a buyer could be found, that buyer cannot secure a loan from banks and other

   institutional lenders that are understandably uninterested in securing a loan with

   damaged property or accepting the unusually high risk of securing a loan with

   property in Flint, Michigan.

         299.     For the same reasons, it is difficult or impossible to refinance

   properties.

         300.     As a result of all the above, it is difficult to find new tenants, receive

   a fair rental amount, or even sell the property at any price.

         301.     As a result of the above, some members of the Class had difficulty

   making mortgage payments for their property because they rely on a steady cash

   flow from tenants to make such payments.


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         302.    Class members paid to install water filters in their properties for

   their tenants’ benefit. These heavy filters naturally damaged the sinks, which had

   to be repaired and/or replaced at Class members’ expense. They also supplied

   bottled water at their own expense.

         303.    In February of 2016, Governor Snyder signed a $30 million package

   to refund all Flint residents’ water bills for the period of April 2014 to April 2016.

   Under this system, residents would receive a 100% refund for the water use portion

   of their bills. However, the state has and is discriminating against multi-unit

   property owners by providing them with only a 20% refund of their bills. Class

   members rented out their properties with water included at the owner’s expense.

   This was a significant amount of money.

         304.    There are tens of thousands of housing units in Flint, Michigan.

   Currently property owners are renting about 45% of those units to residents.

         K.     Defendants’ Misconduct Has Resulted in Criminal Charges and
                Other Government Investigations
         305.    As the events that gave rise to this lawsuit emerged, multiple

   government investigations were launched including congressional hearings.

         306.    One such investigation has been spearheaded by the Michigan

   Attorney General’s Flint legal team which interviewed over 180 witnesses,

   reviewed hundreds of thousands of documents, and ultimately filed criminal

   charges against several current and former City and State officials, many of whom

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   health programs. Moreover, it does not even attempt to remediate the harm caused

   by the Government Defendants’ unconstitutional conduct.

         309.    For example, corroded private service lines and appliances present

   an ongoing public health concern as these stripped pipes are a breeding ground for

   potentially life-threatening bacteria. The Concerned Pastors settlement fails to

   impose an ongoing obligation for the Government Defendants to repair this private

   property.

         310.    Moreover, the health effects of lead poisoning often go undetected

   for some time—the Concerned Pastors settlement does not provide for ongoing

   medical monitoring nor does it provide for educational programs or other remedial

   programs necessary to remediate the broad societal impact resulting from the

   Government Defendants’ unconstitutional conduct.

                               CLASS ALLEGATIONS

         311.    Plaintiffs request certification pursuant to Fed. R. Civ. P 23(b)(3)

   on behalf of a proposed damages class defined as follows: all individuals and

   entities who from April 25, 2014 to present were exposed to toxic Flint water or who

   owned property within the City of Flint and experienced injuries and damages to

   their person or property.

         312.    Plaintiffs request certification pursuant to Fed. R. Civ. P 23(b)(2)

   on behalf of a proposed injunctive relief class defined as follows: all individuals


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   and entities who from April 25, 2014 to present were exposed to toxic Flint water or

   who owned property within the City of Flint and experienced injuries and damages

   to their person or property.

         313.     The number of class members is sufficiently numerous to make

   class action status the most practical method for Plaintiffs to secure redress for

   injuries sustained and to obtain class wide equitable injunctive relief.

         314.     There are questions of law and fact raised by the named Plaintiffs’

   claims common to those raised by the Class(es) they seek to represent. Such

   common questions predominate over question affecting only individual members

   of the Class(es).

         315.     The violations of law and resulting harms alleged by the named

   Plaintiffs are typical of the legal violations and harms suffered by all Class

   members.

         316.     Plaintiff Class representatives will fairly and adequately protect the

   interests of the Plaintiff Class members. Plaintiffs’ counsel are unaware of any

   conflicts of interest between the Class representatives and absent Class members

   with respect to the matters at issue in this litigation; the Class representatives will

   vigorously prosecute the suit on behalf of the Class; and the Class representatives

   are represented by experienced counsel. Plaintiffs are represented by attorneys




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   with substantial experience and expertise in complex and class action litigation

   involving personal and property damage.

            317.   Plaintiffs’ attorneys have identified and thoroughly investigated all

   claims in this action and have committed sufficient resources to represent the

   Class.

            318.   The maintenance of the action as a class action will be superior to

   other available methods of adjudication and will promote the convenient

   administration of justice.     Moreover, the prosecution of separate actions by

   individual members of the Class could result in inconsistent or varying

   adjudications with respect to individual members of the Class and/or one or more

   of the Defendants.

            319.   Defendants have acted or failed to act on grounds generally

   applicable to all Plaintiffs, necessitating declaratory and injunctive relief for the

   Class.

                        COUNT I—CAUSE OF ACTION
                     42 U.S.C. § 1983—14TH AMENDMENT
               SUBSTANTIVE DUE PROCESS—STATE CREATED
             DANGER: BY ALL PLAINTIFFS AGAINST GOVERNMENT
                                  DEFENDANTS
            320.   Plaintiffs and the Class incorporate by reference the allegations set

   forth in all foregoing paragraphs, as if fully set forth herein.




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         321.    Plaintiffs have a clearly established right under the substantive due

   process clause of the Fourteenth Amendment to the United States Constitution to

   be protected from risks, dangers, dangerous situations, or being made more

   vulnerable to increased risk of harms, affirmatively created and/or caused by

   persons acting under color of state law.

         322.    The Government Defendants, while acting under color of state law,

   affirmatively created or exacerbated the dangers and dangerous situations to which

   Plaintiffs were exposed, making them more vulnerable to said dangers, and the

   Government Defendants did so with an extreme degree of culpability.

         323.    The Government Defendants, while acting under color of state law,

   affirmatively continued, increased and perpetuated the dangers, risks of harm, and

   dangerous situations creating the public health crisis, when they deliberately and

   affirmatively denied, lied about, covered up, deceived, discredited, and ignored

   said known dangers and risks of harm to which they exposed Plaintiffs making

   them more vulnerable to said dangers.

         324.    The Government Defendants were aware that their conduct could

   result in the deprivation of Plaintiffs’ due process rights to be protected from the

   dangers, dangerous situations, or being made more vulnerable to the dangers

   affirmatively created and perpetuated by them.




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         325.     This conduct was reckless, deliberately indifferent, and/or so

   outrageous as to shock the conscience, such that it was culpable in the extreme,

   insofar as the Government Defendants knew of and disregarded the substantial risk

   of serious harm to Plaintiffs.

         326.      The dangers and risks of harm were discreet and special to

   Plaintiffs, as Flint water users and property owners in particular, and not risks

   affecting the public at large.

         327.     The dangers and risks of harm to Plaintiffs from the ongoing

   exposure to the water toxins which were created and perpetuated by the

   Government Defendants, were so extreme as to be equivalent to private acts of

   violence visited upon them.

         328.     These actions of the Government Defendants, all under color of law,

   constituted affirmative acts that caused and/or substantially increased the risks of

   physical, emotional and economic harm to the Plaintiffs.

         329.     As a direct and proximate result of the aforementioned

   unconstitutional acts of the Government Defendants, which through the creation of

   state created danger, violated Plaintiffs’ fundamental property and/or liberty rights,

   as alleged in this Consolidated Amended Complaint, Plaintiffs suffered extensive

   damages, including, but not limited to:

                 a.     Serious and in some cases life threatening and irreversible
                        bodily injury;

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                 b.     Substantial economic losses from medical expenses, lost
                        wages, lost income, lost or impaired earning capacity, lost
                        business profits, and reduced property values, among others;

                 c.     Pain and suffering;

                 d.     Embarrassment, outrage, mental anguish, fear and
                        mortification, denial of social pleasures, and stress related
                        physical symptoms.
         330.     The conduct of the Government Defendants was reckless and

   outrageous, entitling Plaintiffs and Plaintiff Class members to an award of punitive

   damages, as well as costs and reasonable attorney fees, pursuant to 42 U.S.C.

   §1988.

                   COUNT II—CAUSE OF ACTION
                 42 U.S.C. § 1983—14th AMENDMENT
          SUBSTANTIVE DUE PROCESS—BODILY INTEGRITY:
   BY INDIVIDUAL PLAINTIFFS AGAINST GOVERNMENT DEFENDANTS
         331.     Individual Plaintiffs and the Class incorporate by reference the

   allegations set forth in all foregoing paragraphs, as if fully set forth herein.

         332.     Individual Plaintiffs have a clearly established fundamental right

   under the substantive due process clause of the Fourteenth Amendment to the

   United States Constitution to bodily integrity.

         333.     The conduct of the Government Defendants, all while acting under

   color of law, endangered and/or threatened Plaintiffs’ fundamental liberty interest

   to bodily integrity as guaranteed by the Due Process Clause of the Fourteenth

   Amendment to the United States Constitution.


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         334.     The Government Defendants were aware that their conduct could

   result in the deprivation of Individual Plaintiffs’ fundamental due process rights to

   bodily integrity.

         335.     The Government Defendants deliberately and knowingly breached

   the constitutionally protected bodily integrity of Individual Plaintiffs by creating

   and perpetuating the ongoing exposure to contaminated water, with deliberate

   indifference to the known risks of harm which said exposure would, and did, cause

   to Individual Plaintiffs.

         336.     The Government Defendants had the opportunity to reflect and

   deliberate before they acted and/or failed to act.

           337. As a direct and proximate result of the aforementioned

    unconstitutional acts of the Government Defendants, which violated Individual

    Plaintiffs’ fundamental property and/or liberty rights to bodily integrity, as

    alleged in this Consolidated Amended Complaint, Plaintiffs suffered extensive

    damages, including, but not limited to:

                a.     Serious and in some cases life threatening and irreversible
                       bodily injury;

                b.     Substantial economic losses from medical expenses, lost wages,
                       lost income, lost or impaired earning capacity, lost business
                       profits, and reduced property values, among others;

                c.     Pain and suffering;




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                  d.   Embarrassment, outrage, mental anguish, fear and
                       mortification, denial of social pleasures, and stress related
                       physical symptoms.

         338.      The conduct of the Government Defendants was both reckless and

   outrageous, entitling Individual Plaintiffs and Plaintiff Class members to an award

   of punitive damages, as well as costs and reasonable attorney fees, pursuant to 42

   U.S.C. § 1988, as well as costs and reasonable attorney fees, pursuant to 42 U.S.C.

   § 1988.

                    COUNT III—CAUSE OF ACTION
             42 U.S.C. § 1983—5th AND 14th AMENDMENTS
         EQUAL PROTECTION OF THE LAW: RACE-BASED: BY
    ALL PLAINTIFFS AGAINST SNYDER, DILLON, WRIGHT, WALLING,
                     AMBROSE, KURTZ & EARLEY
         339.      Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         340.      Defendants Snyder, Dillon, Wright, Walling, Ambrose, Kurtz and

   Earley, acting under color of law, and in their respective individual and/or official

   capacities, engaged in conduct and/or adopted laws and policies that violated

   Plaintiffs’ rights under the Fifth and Fourteenth Amendments to the United States

   Constitution

         341.      Amendment Fourteen, § 1 states in pertinent part, “No state shall

   make or enforce any law which shall . . . deny to any person within its jurisdiction

   the equal protection of the laws.”


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         342.      The Equal Protection Clause prohibits laws and the application of

   laws that invidiously discriminate between similarly situated individuals or

   between groups of persons in the exercise of fundamental rights.

         343.      Defendants’ conduct deliberately exposed Plaintiffs to contaminated

   Flint River water, knowing that it could and would result in widespread serious

   damage.

         344.      In 2013, Defendants were required to develop an Interim Plan to

   deliver water to Genesee County and Flint while the KWA water system was being

   built. This Interim Plan would be in effect for more than 2.5 years (April 25, 2014

   until approximately October 2016 when the KWA water system would become

   operational).

         345.      These Defendants knew that the water from the Flint River was

   grossly inferior to the Lake Huron water Flint and Genesee County citizens had

   been receiving from DWSD.

         346.      These Defendants knew that the raw water from the Flint River

   would have to be processed at the Flint WTP which would have required millions

   of dollars of upgrades.

         347.      These Defendants knew that using the raw water from the Flint

   River had been rejected as recently as 2011.




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         348.      Recognizing these facts, Defendants devised an Interim Plan that

   caused the predominately white water users of those areas of Genesee County

   outside of Flint to receive the safe and superior water from DWSD, whereas the

   water users of predominantly African American Flint received water that was

   known to be grossly inferior and unsafe, i.e. Flint River water.

         349.      As evidence of the fact that race discrimination was the reason for

   treating the two groups of water users differently, the cost of continuing with the

   finished water product from the DWSD for all water users (both Genesee County

   and Flint) would have been substantially less than the cost of upgrading the Flint

   WTP in order to safely process the raw Flint River water.

         350.      Given the clear difference in the treatment between these two groups

   of similarly situated water users, the deliberate and intentional decisions and actions

   of these Defendants in devising the Interim Plan was the product of racial

   discrimination in violation of the Equal Protection Clause.

         351.      If Plaintiffs’ community had been predominately white, Plaintiffs

   would have been treated in the same manner as their predominantly white neighbors

   in Genesee County and they too would have received DWSD water as part of the

   Interim Plan.

         352.      Because Plaintiffs and their Class were water users in a

   predominately African American community, their complaints were dismissed and


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   disrespected as exaggerated, without merit, or inconsequential.       If Plaintiffs’

   community had been predominately white, citizen complaints would have been

   taken seriously, treated as valid and the MDEQ and Flint public officials would

   have taken timely action to address the concerns.

         353.     Both Governor Snyder’s Task Force and the Michigan Civil Rights

   Commission have acknowledged that the residents of Flint were denied equal

   protection of the laws. Governor Snyder’s Task Force found that Flint residents,

   who are majority Black or African American and among the most impoverished of

   any metropolitan area in the United States, did not enjoy the same degree of

   protection from environmental and health hazards as that provided to other

   communities. And the Michigan Civil Rights Commission found that the people of

   Flint did not enjoy the equal protection of environmental or public health laws, nor

   did they have a meaningful voice in the decisions leading up to the Flint Water

   Crisis.

             354. As a direct and proximate result of the aforementioned

    unconstitutional acts of the Government Defendants, which violated Plaintiffs’

    fundamental property and/ or liberty rights to equal protection of the laws based

    on race, as alleged in this Consolidated Amended Complaint, Plaintiffs suffered

    extensive damages, including, but not limited to:

                a.    Serious and in some cases life threatening and irreversible
                      bodily injury;

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                b.       Substantial economic losses from medical expenses, lost wages,
                         lost income, lost or impaired earning capacity, lost business
                         profits, and reduced property values, among others;

                c.       Pain and suffering;

                d.       Embarrassment, outrage, mental anguish, fear and
                         mortification, denial of social pleasures, and stress related
                         physical symptoms.
         355.      The    conduct     of Defendants was reckless          and outrageous,

   entitling Plaintiffs and Plaintiff Class members to an award of punitive damages, as

   well as costs and reasonable attorney fees, pursuant to 42 U.S.C. § 1988.

                    COUNT IV—CAUSE OF ACTION
             42 U.S.C. § 1983—5th AND 14th AMENDMENTS
        EQUAL PROTECTION OF THE LAW: WEALTH-BASED: BY
    ALL PLAINTIFFS AGAINST SNYDER, DILLON, WRIGHT, WALLING,
                     AMBROSE, KURTZ & EARLEY
         356.      Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         357.      Defendants Snyder, Dillon, Wright, Walling, Ambrose, Kurtz and

   Earley, acting under color of law, and in their respective individual and/or official

   capacities, engaged in conduct and/or adopted laws and policies that violated

   Plaintiffs’ rights under the Fifth and Fourteenth Amendments to the United States

   Constitution.

         358.      Amendment Fourteen, § 1 states in pertinent part, “No state shall

   make or enforce any law which shall . . . deny to any person within its jurisdiction

   the equal protection of the laws.”

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         359.      The Equal Protection Clause prohibits laws and the application of

   laws that invidiously discriminate between similarly situated individuals or

   between groups of persons in the exercise of fundamental rights.

         360.      Defendants’ conduct deliberately exposed Plaintiffs to contaminated

   Flint River water, knowing that it could and would result in widespread serious

   damage.

         361.      In 2013, Defendants were required to develop an Interim Plan to

   deliver water to Genesee County and Flint while the KWA water system was being

   built. This Interim Plan would be in effect for more than 2.5 years (April 25, 2014

   until approximately October 2016 when the KWA water system would become

   operational.)

         362.      These Defendants knew that the water from the Flint River was

   grossly inferior to the water Flint and Genesee County citizens had been receiving

   from DWSD.

         363.      These Defendants knew that the raw water from the Flint River

   would have to be processed at the Flint WTP which required millions of dollars of

   upgrades.

         364.      These Defendants knew that using the raw water from the Flint

   River had been rejected as recently as 2011.




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         365.    Recognizing these facts, Defendants devised an Interim Plan that

   allowed the predominately—more affluent water users of Genesee County to

   receive the safe superior water from DWSD and the predominately impoverished

   water users of Flint would have to accept during the interim period grossly

   inferior, previously rejected and dangerous Flint River water.

         366.    There was no rational economic or fiscal justification for treating the

   predominately more affluent water users of Genesee County differently than the

   predominately impoverished water users of Flint because the cost of continuing

   with the finished water product from the DWSD for all water users (both Genesee

   County and Flint) would have been substantially less the cost of upgrading the

   Flint WTP in order to safely process the raw Flint River water.

         367.    Given the unexplained difference in treatment between these two

   groups of similarly situated water users, considering the absence of any rational

   economic justification, and taking into account the economic and class makeup of

   the group which received the grossly inferior and dangerous water product, the

   deliberate decisions and actions of these Defendants in devising the Interim Plan

   can fairly be said to be the product of income and class discrimination, in violation

   of the Equal Protection Clause of the 14th Amendment.




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         368.    If Plaintiffs’ community had been predominately more affluent,

   Plaintiffs would have been treated just like their more affluent neighbors in Genesee

   County, and they too would have received DWSD water as part of the Interim Plan.

         369.    Because    Plaintiffs   were     in   a   predominately   impoverished

   community, their complaints were dismissed as exaggerated, without merit or

   inconsequential. If Plaintiffs’ community had been predominately more affluent,

   citizen complaints would have been treated as valid and the MDEQ and Flint public

   officials would have taken timely action to address the concerns.

           370. As a direct and proximate result of the aforementioned

    unconstitutional acts of the Government Defendants, which violated Plaintiffs’

    fundamental property and/ or liberty rights to equal protection of the laws based

    on wealth, as alleged in this Consolidated Amended Complaint, Plaintiffs

    suffered extensive damages, including, but not limited to:

                a.    Serious and in some cases life threatening and irreversible
                      bodily injury;
                b.    Substantial economic losses from medical expenses, lost wages,
                      lost income, lost or impaired earning capacity, lost business
                      profits, and reduced property values, among others;

                c.    Pain and suffering;

                d.    Embarrassment, outrage, mental anguish, fear and
                      mortification, denial of social pleasures, and stress related
                      physical symptoms.




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         371.      The conduct of Defendants was reckless and outrageous, entitling

   Plaintiffs and Plaintiff Class members to an award of punitive damages, as well as

   costs and reasonable attorney fees, pursuant to 42 U.S.C. § 1988.

                      COUNT V—CAUSE OF ACTION
           42 U.S.C. § 1985(3) INVIDIOUS RACIAL ANIMUS: BY
    ALL PLAINTIFFS AGAINST SNYDER, DILLON, WRIGHT, WALLING,
                      AMBROSE, KURTZ & EARLEY
         372.      Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         373.      Defendants Snyder, Dillon, Wright, Walling, Ambrose, Kurtz and

   Earley, acting under color of law, and in their respective individual and/or official

   capacities, engaged in conduct and/or adopted laws and policies that violated

   Plaintiffs’ rights under the Thirteenth Amendment to the United States

   Constitution.

         374.      42 U.S.C § 1985(3) secures the rights of the Plaintiffs and the Class

   to be free from conspiracies, founded on invidious racial animus, to violate the

   constitutional rights of Plaintiffs to equal protection and due process.

         375.      The Equal Protection Clause prohibits laws and the application of

   laws that invidiously discriminate between similarly situated individuals or

   between groups of persons in the exercise of fundamental rights.




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         376.      Defendants’ conduct deliberately exposed Plaintiffs to contaminated

   Flint River water, knowing that it could and would result in widespread serious

   damage.

         377.      In 2013, Defendants were required to develop an Interim Plan to

   deliver water to Genesee County and Flint while the KWA water system was being

   built. This Interim Plan would be in effect for more than 2.5 years (April 25, 2014

   until approximately October 2016 when the KWA water system would become

   operational.)

         378.      These Defendants knew that the water from the Flint River was

   grossly inferior to the water Flint and Genesee County citizens had been receiving

   from DWSD.

         379.      These Defendants knew that the raw water from the Flint River

   would have to be processed at the Flint WTP which required millions of dollars of

   upgrades.

         380.      These Defendants knew that using the raw water from the Flint

   River had been rejected as recently as 2011.

         381.      Recognizing these facts, Defendants conspired to devise an Interim

   Plan that allowed the predominately white water users of Genesee County to

   receive the safe superior water from DWSD and the predominately black water




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   users of Flint would have to accept during the interim period grossly inferior,

   previously rejected and potentially unsafe Flint River water.

         382.    There was no rational economic or fiscal justification for treating the

   predominately white water users of those parts of Genesee County outside of Flint

   differently than the water users in the predominately African American community

   of Flint because the cost of continuing with the finished water product from the

   DWSD for all water users (both Genesee County and Flint) would have been

   substantially less the cost of upgrading the Flint WTP in order to safely process the

   raw Flint River water.

         383.    Given the unexplained difference in treatment between these two

   groups of similarly situated water users, considering the absence of any rational

   economic or fiscal justification, and taking into account the racial makeup of the

   community that received the grossly inferior and dangerous water product, the

   deliberate decisions and actions of these conspiring Defendants in devising the

   Interim Plan can fairly be said to be the product of invidious racial animus in

   violation of the Thirteenth Amendment. The provision of unhealthy and dangerous

   food and water is a badge, vestige, and symbol of slavery abolished and prohibited

   by the Thirteenth Amendment.




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         384.    If Plaintiffs’ community had been predominately white, Plaintiffs

   would have been treated the same as their white neighbors in Genesee County, and

   they too would have received DWSD water as part of the Interim Plan.

         385.    Because Plaintiffs were water users in a predominately African

   American community, their complaints were disrespected and dismissed as

   exaggerated, without merit or inconsequential. If Plaintiffs’ community had been

   predominately white, citizen complaints would have been treated as valid and the

   MDEQ and Flint public officials would have taken timely action to address the

   concerns.    This disrespect and dismissive response arose directly from the

   conspiracy between these Defendants founded on invidious racial animus.

          386. As a direct and proximate result of the aforementioned conspiracy

    founded on racial animus as alleged in this Consolidated Amended Complaint,

    Plaintiffs suffered extensive damages, including, but not limited to:

                a.    Serious and in some cases life threatening and irreversible
                      bodily injury;
                b.    Substantial economic losses from medical expenses, lost wages,
                      lost income, lost or impaired earning capacity, lost business
                      profits, and reduced property values, among others;

                c.    Pain and suffering;

                d.    Embarrassment, outrage, mental anguish, fear and
                      mortification, denial of social pleasures, and stress related
                      physical symptoms.




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         387.     The conduct of Defendants was reckless and outrageous, entitling

   Plaintiffs and Plaintiff Class members to an award of punitive damages, as well as

   costs and reasonable attorney fees, pursuant to 42 U.S.C. §1988.

                      COUNT VI—CAUSE OF ACTION
     MCL 37. 2302 - VIOLATION OF PUBLIC SERVICE PROVISIONS OF
       ELCRA-DISPARATE TREATMENT AND DISPARATE IMPACT
         PLAINTIFFS AGAINST SNYDER, STATE OF MICHIGAN,
     DILLON, WRIGHT, WALLING, AMBROSE, KURTZ, EARLEY, AND
                          THE CITY OF FLINT

         388.     Plaintiffs and the Class incorporate by reference all preceding

   allegations set forth above as if fully stated herein.

         389.     Flint and Walling and Emergency Managers Kurtz, Ambrose, and

   Earley represent a public facility, agency, board owned and operated by a political

   subdivision of the state established to provide public service to the public within the

   meaning of MCL 37.2301(b).

         390.     If not “provider[s]” of a public service, Wright, Walling, Ambrose,

   Kurtz, Earley are liable under MCL 37.2701(b) because they aided or abetted the

   “provider” to violate MCL 37.2302(a).

         391.     Snyder, State of Michigan, and Dillon are liable under MCL

   37.2701(b) because they aided the “provider” of water services to Plaintiffs in the

   acts which denied Plaintiffs of the full and equal enjoyment of water services

   because of race.



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         392.    The Defendants identified in this Count shall be referred to as the

   “ELCRA Defendants.”

         393.    The ELCRA Defendants were under a statutory duty to either

   provide water services to Plaintiffs so that they would not be denied the full and

   equal enjoyment of public water service on account of race, or they aided and

   abetted the public service provider to deny Plaintiffs full and equal enjoyment of

   public water service an account of race.

         394.    In 2013, the ELCRA Defendants were required to develop an

   Interim Plan to deliver water to Genesee County and Flint while the KWA water

   system was being built. This Interim Plan would be in effect for more than 2.5

   years (April 25, 2014 until approximately October 2016 when the KWA water

   system would become operational).

         395.    The ELCRA Defendants knew that the water from the Flint River

   was grossly inferior to the water Flint and Genesee County citizens had been

   receiving from DWSD.

         396.    The ELCRA Defendants knew that the water from the Flint River

   would have to be processed at the Flint WTP which required millions of dollars of

   upgrades.

         397.    The ELCRA Defendants knew that using the raw water from the

   Flint River had been rejected as recently as 2011.


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            398.   Recognizing these facts, the ELCRA Defendants devised or

   acquiesced to an Interim Plan that allowed the predominately white water users of

   Genesee County to receive the safe superior water from DWSD and the

   predominately black water users of Flint would have to accept during the interim

   period grossly inferior, previously rejected and potentially unsafe Flint River

   water.

            399.   There was no rational economic justification for treating the

   predominately white water users from those areas of Genesee County outside of

   Flint differently than the users of water from Flint, a predominately African

   American community. This is so because the cost of continuing with the finished

   water product from the DWSD for all water users (both Genesee County and Flint)

   would have been substantially less than the cost of upgrading the Flint WTP in

   order to safely process (assuming this was possible) the raw Flint River water.

            400.   Given the unexplained difference in treatment between these two

   groups of similarly situated water users, considering the absence of any rational

   economic or fiscal justification, and taking into account the racial makeup of the

   community that received the grossly inferior and dangerous water product, the

   deliberate decisions and actions of these conspiring Defendants in devising the

   Interim Plan can fairly be said to be the product of racial discrimination in

   violation of MCL 37.2302(a).


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         401.     If Plaintiffs’ community had been predominately white, Plaintiffs

   would have been treated just like their neighbors from the predominantly white

   neighbors in Genesee County, and they too would have received DWSD water as

   part of the Interim Plan.

         402.     Assuming that the policy to supply different quality water to the

   water users of Flint and the surrounding communities was race neutral, the ELCRA

   Defendants are liable under the MCL 37.2302(a) because the impact of that policy

   had a grossly disparate negative impact on the predominately African-American

   and poor water users in the City of Flint.

           403. As a direct and proximate result of the aforementioned violation of

    Plaintiffs’ rights under MCL 37.2302(a) by the ELCRA Defendants, Plaintiffs

    suffered extensive damages, including, but not limited to:

                a.     Serious and in some cases life threatening and irreversible
                       bodily injury;
                b.     Substantial economic losses from medical expenses, lost wages,
                       lost income, lost or impaired earning capacity, lost business
                       profits, and reduced property values, among others;

                c.     Pain and suffering;
                d.     Embarrassment, outrage, mental anguish, fear and
                       mortification, denial of social pleasures, and stress related
                       physical symptoms.
           404. Plaintiffs and Plaintiff Class members are further entitled to an

    award costs and reasonable attorney fees, pursuant to MCL 37.2802.


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                 COUNT VII—CAUSE OF ACTION
   MONELL CLAIM: BY ALL PLAINTIFFS AGAINST THE CITY OF FLINT

         405.    At all times herein, Defendant City of Flint, acting through its

   official policymakers identified above, established and/or maintained the following

   customs, usages, policies and/or practices:

                a.    Undertaking, making and/or approving decisions with regard to
                      the public water system of the City, while at all times knowing
                      that these decisions would likely result in the creation and
                      prolongation of a public health crisis to its residents, including
                      the infliction of harm and injury to Plaintiffs herein;
                b.    Participating in the concealment of the above-described acts,
                      injuries, and harms of which it was aware, through its
                      supervisors and official policymakers;

                c.    Approving, encouraging, authorizing, condoning, and
                      acquiescing in the decisions and acts of concealment that were
                      committed by its employees, agents, supervisors and
                      policymakers, all under color of law and all in violation of
                      Plaintiffs’ rights under the Constitution;

                d.    Failure to train, supervise, and/or discipline agents, employees,
                      and officials of the City of Flint to:

                         i. Determine whether the water supplied to the public has
                            received adequate corrosion control;

                        ii. Never provide the users of public water in Flint with
                            water, the source of which has not received adequate
                            corrosion control;

                       iii. When water which has not received adequate corrosion
                            control is supplied to the public, to immediately take steps
                            and measures to end the supply of such water to the
                            public;
                        iv. When water which has not received adequate corrosion
                            control is supplied to the public, to immediately take steps
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                             and measures to warn and instruct the public of the
                             dangers and hazards of such water and how to protect
                             from harm and injury arising therefrom; and

                         v. When water which has not received adequate corrosion
                            control is supplied to the public, to immediately take all
                            other necessary steps and measures to protect the public.

         406.      Each of the aforementioned customs, policies, and/or practices, i.e.

   the affirmative decisions made by the official policymakers, the failure to train,

   supervise, and/or discipline the individually named Defendants, was known to

   Defendant City, as highly likely and probable to cause violations of the

   constitutional rights of members of the public, including but not limited to

   Plaintiffs herein.

         407.      The conduct of the individually named Defendants Walling, Croft,

   Glasgow, and Johnson was committed pursuant to the customs, policies, and/or

   practices of Defendant City.

         408.      Each such custom, policy and/or practice, referenced above, was a

   moving force in the violations of Plaintiffs’ constitutional rights, as set forth

   herein.

             409. As a direct and proximate result of the aforementioned violations of

    Plaintiffs’ constitutional rights pursuant to Defendant City of Flint’s customs,

    policies and/or practices, as alleged in this Consolidated Amended Complaint,

    Plaintiffs have suffered extensive damages, including, but not limited to:


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                  a.      Serious and in some cases life threatening and irreversible
                          bodily injury;

                  b.      Substantial economic losses from medical expenses, lost wages,
                          lost income, lost or impaired earning capacity, lost business
                          profits, reduced property values, among others;
                  c.      Pain and suffering;

                  d.      Embarrassment, outrage, mental anguish, fear and
                          mortification, denial of social pleasures, and stress related
                          physical symptoms.

           410.        Plaintiffs and Plaintiff Class members are further entitled to an

    award costs and reasonable attorney fees, pursuant to 42 U.S.C. § 1988.

                        COUNT VIII—CAUSE OF ACTION
                     PROFESSIONAL NEGLIGENCE: BY ALL
                  PLAINTIFFS AGAINST LAN PC, LAN INC. & LAD
         411.      Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         412.      The LAN Defendants undertook, for consideration, to render

   services for the City of Flint, which they should have recognized as necessary for

   the protection of Plaintiffs and their property.

         413.      The LAN Defendants undertook to perform a duty owed to Plaintiffs

   by the City of Flint and/or the State of Michigan. Additionally, the LAN

   Defendants, in undertaking to perform services related to the Flint water supply

   and in making public statements about the safety of the Flint water supply,

   assumed a duty directly to the Plaintiffs and the Class.


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         414.     Based on their undertaking, the LAN Defendants had a duty to

   Plaintiffs, as residents and property owners in the City of Flint, to exercise that

   degree of care consistent with the greater degree of knowledge and skill possessed

   by design professionals, as well as an ethical duty to report to public authorities the

   dangers posed to public health and property that would result from the failure to

   install and/or operate a proper anti-corrosive treatment when using the Flint River

   as a primary source of drinking water.

         415.     The LAN Defendants also owed a duty to Plaintiffs to notify the

   proper authorities of unethical illegal practices of others whose actions or decisions

   posed threats to public health and property that would result from the failure to

   install and/or operate a proper anti-corrosive treatment when using the Flint River

   as a primary source of drinking water.

         416.     The LAN Defendants’ duties to Plaintiffs included, but were not

   limited to, a duty to properly administer the placing of the FWTP into operation

   using the Flint River as a primary source, a duty to do so in such a manner that

   would not endanger the health and property of Plaintiffs, a duty to take other

   actions consistent with the greater degree of knowledge and skill possessed by

   design professionals, and/or the duty to report to public authorities the dangers

   posed to public health and property that would result from the failure to install




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   and/or provide proper anti-corrosive treatment when using the Flint River as a

   primary source of drinking water.

         417.      Plaintiffs relied on the LAN Defendants to perform their duties.

         418.      The LAN Defendants failed to exercise reasonable care in

   performing their duties, including in preparing for and executing the transition

   from treated DWSD water to untreated Flint River water, which was unsafe, toxic

   and unsuitable for human use.

         419.      The LAN Defendants failed to undertake reasonable care and

   conduct as a professional engineering firm.

         420.      The LAN Defendants failed to exercise reasonable care when they

   did not ensure that corrosion control measures were implemented in a water supply

   system containing lead pipes that was being transitioned to a highly corrosive

   water source.

         421.      The LAN Defendants failed to exercise reasonable care when they

   failed to conduct a root cause analysis which would have uncovered that the source

   of the TTHM was corrosive water coursing through the City’s pipes, which also

   would cause the release of lead and legionella.

         422.      The LAN Defendants failed to exercise reasonable care when they

   did not forcefully recommend the addition of phosphates to the water.




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         423.     The LAN Defendants failed to exercise reasonable care when they

   failed to recommend that the City use a coagulant other than ferric chloride.

         424.     The LAN Defendants failed to exercise reasonable care for other

   reasons alleged throughout this complaint, including ignoring at least several red

   flags that should have alerted them to the relevant problems.

         425.     The LAN Defendants’ conduct and/or failure(s) to act constitutes

   gross negligence because they were so reckless that they demonstrated a

   substantial lack of concern for whether an injury or harm would result.

         426.     The LAN Defendants’ professional negligence was voluntary

   conduct that inspired humiliation, outrage, and indignity by the Plaintiffs.

         427.     The LAN Defendants’ conduct was malicious, willful, and wanton

   as to disregard the Plaintiffs’ rights, for the following reasons:

                a.     The LAN Defendants knew that Plaintiffs were relying upon
                       them to provide Flint with safe water;
                b.     The LAN Defendants knew that the failure to include corrosion
                       control chemicals posed threats to public health and property
                       that would result in injury and damages to Plaintiffs; and/or

                c.     The LAN Defendants knew that the failure to notify and/or
                       report to the proper authorities of unethical or illegal practices
                       of others whose actions or decisions posed threats to public
                       health and property that would result in injury and damages to
                       Plaintiffs.

         428.     Plaintiffs suffered harm resulting from the LAN Defendants’ failures

   to exercise reasonable care.


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         429.      The LAN Defendants’ failure(s) to exercise reasonable care was

   direct and proximate cause of the Plaintiffs’ injuries, which were entirely

   foreseeable.

         430.      The LAN Defendants are liable to Plaintiffs for all harms resulting

   to them from the LAN Defendants’ failures to exercise reasonable care.

           431. As a direct and proximate result of the LAN Defendants’ actions

    and/or omissions, as alleged in this Consolidated Amended Complaint, Plaintiffs

    have suffered extensive damages, past, present and future, including, but not

    limited to:

                  a.   Serious and in some cases life threatening and irreversible
                       bodily injury;

                  b.   Substantial economic losses from medical expenses, lost wages,
                       lost income, lost or impaired earning capacity, lost business
                       profits, and reduced property values, among others;

                  c.   Pain and suffering;
                  d.   Embarrassment, outrage, mental anguish, fear and
                       mortification, denial of social pleasures, and stress related
                       physical symptoms.

         432.      As a result of the foregoing, in addition to compensatory damages,

   Plaintiffs seek an award of exemplary damages from the LAN Defendants so as to

   deter such morally reprehensible conduct by the LAN Defendants and similarly

   situated corporations in the future.




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                         COUNT IX—CAUSE OF ACTION
                     PROFESSIONAL NEGLIGENCE: BY ALL
                 PLAINTIFFS AGAINST THE VEOLIA DEFENDANTS
          433.     Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

          434.     Plaintiffs bring this cause of action against the Veolia Defendants.

   The Veolia Defendants undertook, for consideration, to render services for the City

   of Flint, which they should have recognized as necessary for the protection of

   Plaintiffs.

          435.     The Veolia Defendants undertook to perform a duty owed to

   Plaintiffs by the City of Flint and/or the State of Michigan. Additionally, the

   Veolia Defendants, in undertaking to perform services related to the Flint water

   supply and in making public statements about the safety of the Flint water supply,

   assumed a duty directly to the Plaintiffs and the Class.

          436.     Based on their undertaking, the Veolia Defendants had a duty to

   Plaintiffs to exercise reasonable care.

          437.     Plaintiffs relied on the Veolia Defendants to perform the duty to

   inspect the City’s water supply to make sure that it was safe.

          438.     The Veolia Defendants failed to undertake reasonable care and

   conduct as a professional engineering firm.




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         439.      The Veolia Defendants failed to exercise reasonable care in

   inspecting the city’s water system and issuing their interim and final reports.

         440.      The Veolia Defendants failed to exercise reasonable care when they

   declared that Flint’s drinking water met federal and/or state and/or all applicable

   requirements.

         441.      The Veolia Defendants failed to exercise reasonable care when they

   represented that Flint’s drinking water was safe.

         442.      The Veolia Defendants failed to exercise reasonable care when they

   discounted the possibility that problems unique to Flint’s water supply were

   causing medical harm and property and monetary damage.

         443.      The Veolia Defendants failed to exercise reasonable care when they

   failed to warn about the dangers of lead leaching into Flint’s water system.

         444.      The Veolia Defendants failed to exercise reasonable care when they

   did not forcefully recommend the immediate implementation of corrosion control

   for purposes of preventing lead contamination in Flint’s water supply.

         445.      The Veolia Defendants failed to exercise reasonable care when they

   failed to conduct a root cause analysis which would have uncovered that the source

   of the TTHM was corrosive water coursing through the City’s pipes, which also

   would cause the release of lead and legionella.




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         446.     The Veolia Defendants failed to exercise reasonable care when they

   did not forcefully recommend the addition of phosphates to the water.

         447.     The Veolia Defendants failed to exercise reasonable care when they

   failed to recommend that the City use a coagulant other than ferric chloride.

         448.     The Veolia Defendants failed to exercise reasonable care through

   other conduct described in this complaint.

         449.     The Veolia Defendants’ conduct and/or failure(s) to act constitute

   gross negligence because it was so reckless that it demonstrated a substantial lack

   of concern for whether an injury or harm would result.

         450.     The Veolia Defendants’ professional negligence was voluntary

   conduct that inspired humiliation, outrage, and indignity by the Plaintiffs.

         451.     The Veolia Defendants’ conduct was malicious, willful, and wanton

   as to disregard the Plaintiffs’ rights for the following reasons:

                a.     The Veolia Defendants knew or should have known that
                       Plaintiffs were relying upon them to provide Flint with safe
                       water;

                b.     The Veolia Defendants knew or should have known that the
                       failure to include corrosion control chemicals posed threats to
                       public health and property that would result in injury and
                       damages to Plaintiffs; and/or
                c.     The Veolia Defendants knew or should have known that the
                       failure to notify and/or report to the proper authorities of
                       unethical or illegal practices of others whose actions or
                       decisions posed threats to public health and property that would
                       result in injury and damages to Plaintiffs.

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         452.     Plaintiffs suffered harm resulting from the Veolia Defendants’

   failures to exercise reasonable care to protect its undertaking.

         453.     The Veolia Defendants’ failures to exercise reasonable care to

   protect their undertaking directly and proximately caused the Plaintiffs’ injuries

   and were entirely foreseeable.

         454.     The Veolia Defendants are liable to Plaintiffs for all harms resulting

   to them from the Veolia Defendants’ failures to exercise reasonable care.

           455. As a direct and proximate result of the violations of the Veolia

    Defendants’ actions and/or omissions, as alleged in this Consolidated Amended

    Complaint, Plaintiffs have suffered extensive damages, past, present and future,

    including, but not limited to:

                a.     Serious and in some cases life threatening and irreversible
                       bodily injury;
                b.     Substantial economic losses from medical expenses, lost wages,
                       lost income, lost or impaired earning capacity, lost business
                       profits, and reduced property values, among others;

                c.     Pain and suffering;
                d.     Embarrassment, outrage, mental anguish, fear and
                       mortification, denial of social pleasures, and stress related
                       physical symptoms.

         456.     Further, as a direct and proximate cause of the Veolia Defendants’

   acts and omissions, Plaintiffs’ property has been damaged in the form of damaged




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   pipes, service lines, and appliances in their homes, a diminution in property values,

   and other property and monetary damages.

         457.      As a result of the foregoing, in addition to compensatory damages,

   Plaintiffs seek an award of exemplary damages from the Veolia Defendants.

                          COUNT X—CAUSE OF ACTION
                       FRAUD: BY ALL PLAINTIFFS AGAINST
                           THE VEOLIA DEFENDANTS
         458.      Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         459.      Upon information and belief, and as further set forth above, the

   Veolia Defendants made false and material representations regarding the safety of

   Flint’s water, the nature and cause of the water quality problems in Flint, and the

   risks to public health and property damage.

         460.      Upon information and belief, the false and material representations

   include, but are not limited to, statements in the Veolia Defendants’ 2015 Interim

   Report that:

                  a.   Flint’s water was “safe” and “in compliance with drinking
                       water standards[.]”

                  b.   The observed discoloration was merely aesthetic and not
                       indicative of water quality or health problem, and
                  c.   Medical problems are because “[s]ome people may be sensitive
                       to any water.




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          461.       Upon information and belief, the material representations and other

   acts and omissions of the Veolia Defendants constitute fraud.

          462.       Upon information and belief, the Veolia Defendants knew the

   representations were made recklessly without any knowledge about their veracity.

          463.       Upon information and belief, the Veolia Defendants made the

   representations with the intention that Plaintiffs would act and rely on them, which

   Plaintiffs did.

           464. As a direct and proximate result of the Veolia Defendants’

    fraudulent representations, as alleged in this Consolidated Amended Complaint,

    Plaintiffs have suffered extensive damages, past, present and future, including,

    but not limited to:

                 a.      Serious and in some cases life threatening and irreversible
                         bodily injury;
                 b.      Substantial economic losses from medical expenses, lost wages,
                         lost income, lost or impaired earning capacity, lost business
                         profits, reduced property values, among others;

                 c.      Pain and suffering;
                 d.      Embarrassment, outrage, mental anguish, fear and
                         mortification, denial of social pleasures, and stress related
                         physical symptoms.




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                   COUNT XI—CAUSE OF ACTION
          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS:
   BY INDIVIDUAL PLAINTIFFS AGAINST ENGINEERING DEFENDANTS
         465.     Individual Plaintiffs and Plaintiff Class incorporate by reference the

   allegations set forth in all foregoing paragraphs, as if fully set forth herein.

         466.     The Engineering Defendants owed Individual Plaintiffs and the

   Class a duty to exercise reasonable care.

         467.     As alleged herein, the Engineering Defendants failed to exercise

   reasonable care, which had the direct and foreseeable result of causing Individual

   Plaintiffs and the Class severe emotional distress, embarrassment, outrage, mental

   anguish, fear and mortification, denial of social pleasures, and stress related

   physical symptoms.

                         COUNT XI—CAUSE OF ACTION
                       NEGLIGENCE: BY ALL PLAINTIFFS
                      AGAINST ENGINEERING DEFENDANTS
         468.     Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         469.     The Engineering Defendants owed Plaintiffs and the Class a duty to

   exercise reasonable care.

         470.     As alleged herein, the Engineering Defendants, individually and

   collectively, breached their duty of reasonable care by allowing contaminants to be




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   released into the drinking water of the City of Flint, including but not limited to

   lead.

           471.   Upon learning of the release of the contaminants, the Engineering

   Defendants owed Plaintiffs and the Class a duty to act reasonably to remediate,

   contain, and eliminate the contamination before it injured Plaintiffs, the Class, and

   their property and/or to act reasonably to minimize the damage to Plaintiffs, the

   Class, and their property.

           472.   The Engineering Defendants breached that duty by failing to act

   reasonably in providing Plaintiffs and the Class usable water. Furthermore, the

   Engineering Defendants failed to take reasonable, adequate, and sufficient steps or

   action to eliminate, correct, or remedy any contamination after it occurred.

           473.   The Engineering Defendants further breached that duty by failing to

   timely notify the Plaintiffs and the Class of the contamination of Flint’s drinking

   water, and, consequently, the presence of lead and other contaminants in the

   homes, businesses, and rental properties of Plaintiffs and the Class.

           474.   As a result of the Engineering Defendants’ breaches of their duty to

   timely notify, Plaintiffs and the Class were forestalled from undertaking effective

   and immediate remedial measures, and Plaintiffs and the Class have expended

   and/or will be forced to expend significant resources to test, monitor, and




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   remediate the effects of the Engineering Defendants’ negligence for many years

   into the future.

         475.     The Engineering Defendants negligently breached their duties to the

   Plaintiffs and the Class to ensure that the Flint water supply was safe and

   sufficiently secure as to prevent the release of the contaminants into the water

   facilities and, consequently, the homes and rental properties of Plaintiffs and Class

   Members.

         476.     The Engineering Defendants wilfully and wantonly breached their

   legal duty to properly remediate the contamination despite full knowledge of the

   extent of the contamination and the threat it poses to human health and safety.

           477. As a direct and proximate result of the Engineering Defendants’

    actions and/or omissions, as alleged in this Consolidated Amended Complaint,

    Plaintiffs have suffered extensive damages, past, present and future, including,

    but not limited to:

                a.    Serious and in some cases life threatening and irreversible
                      bodily injury;

                b.    Substantial economic losses from medical expenses, lost wages,
                      lost income, lost or impaired earning capacity, lost business
                      profits, and reduced property values, among others;
                a.    Pain and suffering;

                b.    Embarrassment, outrage, mental anguish, fear and
                      mortification, denial of social pleasures, and stress related
                      physical symptoms.


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                        COUNT XII—CAUSE OF ACTION
                    GROSS NEGLIGENCE: BY ALL PLAINTIFFS
                   AGAINST THE ENGINEERING DEFENDANTS
         478.     Plaintiffs and Plaintiff Class incorporate by reference the allegations

   set forth in all foregoing paragraphs, as if fully set forth herein.

         479.     The Engineering Defendants owed Plaintiffs and the Class a duty to

   exercise reasonable care. Upon learning of the release of the contaminants, the

   Engineering Defendants owed Plaintiffs and the Class a duty to act reasonably to

   remediate, contain, and eliminate the contamination before it injured Plaintiffs, the

   Class and their property.

         480.     As alleged herein, the Engineering Defendants, individually and

   collectively, caused drinking water with concentrations of lead exceeding

   applicable standards, and legionella, to be provided to Plaintiffs and the Class in

   contravention of federal environmental statutes and guidelines. As such, the

   Engineering Defendants gross negligently, recklessly, wilfully, wantonly, and/or

   intentionally contaminated drinking water in and around the real property of

   Plaintiffs and the Class.

         481.     The Engineering Defendants owed Plaintiffs and the Class a duty to

   act with reasonable care in undertaking their obligations. As professional

   engineers, the Engineering Defendants had a duty to act as an engineer of ordinary

   learning, judgment, or skill would. As more fully described herein, the Engineering


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   Defendants breached their duties of care by (1) failing to conduct a root cause

   analysis which would have revealed that the pipes were corroding and causing lead

   and legionella to enter the residents’ homes; (2) failing to recognize at least several

   red flags that should alert a prudent engineer to extensive corrosion problems and

   lead to implementation of effective protective measures; (3) failing to advise the

   City that they were out of compliance with the Safe Drinking Water Act’s Lead

   and Copper Rule; (4) failing to advise the City that the addition of a corrosion

   inhibitor was necessary to prevent lead poisoning and Legionnaires’ disease; and

   (5) advising the City to use or even increase the dosage of highly acidic ferric

   chloride, rather than advising that the pH of the water should be increased.

         482.     Defendants’ conduct was so reckless as to demonstrate a substantial

   lack of concern for whether injury would result to Plaintiffs or the Class.

           483. As a direct and proximate result of the Engineering Defendants’

    actions and/or omissions, as alleged in this Consolidated Amended Complaint,

    Plaintiffs have suffered extensive damages, past, present and future, including,

    but not limited to:

                a.     Serious and in some cases life threatening and irreversible
                       bodily injury;

                b.     Substantial economic losses from medical expenses, lost wages,
                       lost income, lost or impaired earning capacity, lost business
                       profits, and reduced property values, among others;
                c.     Pain and suffering;

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               d.     Embarrassment, outrage, mental anguish, fear and
                      mortification, denial of social pleasures, and stress related
                      physical symptoms.

                                PRAYER FOR RELIEF
         Plaintiffs request the following relief from the Court:

               a.     An order certifying a damages class pursuant to Fed. R. Civ. P
                      23(b)(3) and an injunctive relief class pursuant to Fed. R. Civ.
                      P. 23(b)(2);

               b.     An order declaring the conduct of the Government Defendants
                      unconstitutional;
               c.     An injunctive order to remediate the harm caused by the
                      Government Defendants’ unconstitutional conduct including,
                      but not limited to: repairs of private property and establishment
                      of medical monitoring to provide health care and other
                      appropriate services to Class members for a period of time
                      deemed appropriate by the Court;

               d.     Appointment of a monitor who will assist in the development of
                      remedial plans including, but not limited to: early education,
                      education intervention programs, criminal and juvenile justice
                      evaluations;

               e.     An order for an award of compensatory damages;

               f.     An order for an award of punitive damages;

               g.     An order for an award of exemplary damages;

               h.     An order for equitable relief;
               i.     An order for pre-judgment and post-judgment interest;

               j.     An order for an award of reasonable attorney’s fees and
                      litigation expenses; and

               k.     An order for all such other relief the court deems equitable.



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                           DEMAND FOR TRIAL BY JURY
         Plaintiffs demand a trial by jury as to all those issues triable as of right.


   Dated: January 25, 2018                     Respectfully submitted,



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                            CERTIFICATE OF SERVICE
   The undersigned certifies that the foregoing instrument was filed with the U.S.
   District Court through the ECF filing system and that all parties to the above case
   were served via the ECF filing system on January 25, 2018.



                                                       /s/ Jessica Weiner




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